           Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 1 of 105



                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

LYNN BRANDHORST, Derivatively on Behalf
of Nominal Defendant MALLINCKRODT PLC
93 Broadway                                 Case No. ________________
Los Gatos CA 95030
                                            VERIFIED SHAREHOLDER
                                            DERIVATIVE COMPLAINT FOR
                                            VIOLATIONS OF THE FEDERAL
                   Plaintiff,               SECURITIES LAWS

      v.
                                            JURY TRIAL DEMANDED
MARK TRUDEAU
3 Lotus Park
The Causeway
Staines-Upon-Thames TW18 3AG
United Kingdom

MATTHEW K. HARBAUGH
3 Lotus Park
The Causeway
Staines-Upon-Thames TW18 3AG
United Kingdom

HUGH O’NEILL
3 Lotus Park
The Causeway
Staines-Upon-Thames TW18 3AG
United Kingdom

ANGUS RUSSELL
3 Lotus Park
The Causeway
Staines-Upon-Thames TW18 3AG
United Kingdom

DAVID CARLUCCI
3 Lotus Park
The Causeway
Staines-Upon-Thames TW18 3AG
United Kingdom

J. MARTIN CARROLL
3 Lotus Park
                                       1
           Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 2 of 105



The Causeway
Staines-Upon-Thames TW18 3AG
United Kingdom

DAVID NORTON
3 Lotus Park
The Causeway
Staines-Upon-Thames TW18 3AG
United Kingdom

JOANN REED
3 Lotus Park
The Causeway
Staines-Upon-Thames TW18 3AG
United Kingdom

and

KNEELAND YOUNGBLOOD
3 Lotus Park
The Causeway
Staines-Upon-Thames TW18 3AG
United Kingdom

                     Defendants,

and

MALLINCKRODT PLC
3 Lotus Park
The Causeway
Staines-Upon-Thames TW18 3AG
United Kingdom

                     Nominal Defendant.



       Plaintiff Lynn Brandhorst, by and through his undersigned counsel, bring this shareholder

derivative action for the benefit of Nominal Defendant, Mallinckrodt plc (“Mallinckrodt”)

against certain current and former officers and members of the Company’s board of directors

(the “Board”) seeking to remedy Defendants’ (defined below) violations of §10(b) and/or 20(a)

                                               2
            Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 3 of 105



of the Securities Exchange Act of 1934 (the “Exchange Act”) and Rule 10b-5 promulgated

thereunder, as well as breach of fiduciary duties, unjust enrichment, abuse of control, and gross

mismanagement.     Plaintiff makes these allegations upon personal knowledge as to those

allegations concerning himself and, as to all other matters, upon the investigation of counsel,

which includes without limitation: (a) review and analysis of public filings made by

Mallinckrodt and other related parties with the United States Securities and Exchange

Commission (“SEC”); (b) review and analysis of press releases and other publications

disseminated by certain of the Defendants (defined below) and other related non-parties; (c)

review of news articles, shareholder communications, and postings on Mallinckrodt’s website

concerning the Company’s public statements; (d) pleadings, papers, and any documents filed

with, and publicly available from, the related consolidated securities fraud class action lawsuit

captioned Shenk vs. Mallinckrodt plc, et al., No. 1:17-cv-00145-DLF (the “Securities Class

Action”); and (e) review of other publicly-available information concerning Mallinckrodt and the

Defendants.

I.     INTRODUCTION

       1.     Mallinckrodt is a specialty pharmaceutical company that, during the Relevant

Period, developed, manufactured and distributed branded and generic pharmaceutical products in

the United States, Europe, the Middle East, Africa, and other areas worldwide. The Company

marketed its branded pharmaceutical products to physicians, pharmacists, pharmacy buyers,

hospital procurement departments, ambulatory surgical centers, and specialty pharmacies. It

distributed its branded and generic products through independent channels, including wholesale

drug distributors, specialty pharmaceutical distributors, retail pharmacy chains, hospital

networks, ambulatory surgical centers, and governmental agencies.

                                               3
            Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 4 of 105



       2.      The Securities Class Action primarily involves allegations that Mallinckrodt and

certain of its senior officers, namely, Chief Executive Officer (“CEO”) Mark Trudeau, Chief

Financial Officer (“CFO”) Matthew K. Harbaugh, and Hugh O’Neill, who was Executive Vice

President and President, Autoimmune and Rare Diseases during the Relevant Period and is

currently Executive Vice President and Chief Commercial Officer, issued a series of false and/or

misleading material statements relating to the Company’s key drug, H. P. Acthar Gel (“Acthar”),

that artificially inflated the price of Mallinckrodt’s common stock during the Relevant Period.

       3.      In short, throughout the Relevant Period, Defendants made false and misleading

statements and failed to disclose material adverse facts about the long-term sustainability of the

Company’s monopolistic revenues from Acthar and the exposure of Acthar to Medicare and

Medicaid payments. Defendants consistently represented during the Relevant Period that Acthar

“has limited direct competition due to the unique nature of the product” when, in reality, its

competitive advantage in the United States market derived at least in part from the Company’s

unlawful conduct that prevented alternative synthetic adrenocorticotropic hormone treatments

from being developed and marketed in the United States. Defendants also misrepresented the

actual percentage of Acthar revenues derived from sales paid for by Medicare and Medicaid, and

how the troubles it was facing with private insurers and the medical community would

eventually adversely impact its Acthar sales and prospects.

       4.      Defendants’ knowing and/or reckless failure to disclose the truth about Acthar

artificially inflated the price of Mallinckrodt common stock during the Relevant Period. When

the truth was disclosed, over a series of public statements by the Company and others, billions of

dollars in shareholder value were lost, inflicting substantial damage to the Company.

       A.      The Development and Marketing of Acthar by Questcor

                                                4
            Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 5 of 105



       5.         Acthar, which was originally created by an affiliate of the Armour & Company

meat packing business from the pituitary glands of slaughtered pigs, was first licensed in 1952 by

the United States Food and Drug Administration (“FDA”). From that time until the end of the

Relevant Period, Acthar was the only therapeutic ACTH drug licensed by the FDA for use in the

United States.1

       6.         At the time Acthar was licensed by the FDA, an applicant pursuing approval of a

new drug was only required to show that it was safe, not that it was also effective for its

prescribed uses. Since that time, the law has changed, and new drugs must be demonstrated to

be both safe and effective. However, this requirement did not apply to grandfathered drugs like

Acthar that were approved before the change in the law governing the licensing of

pharmaceutical drugs.

       7.         In 2001, Questcor purchased Acthar from Aventis Pharmaceuticals for the sum of

$100,000, plus modest royalties. This relatively low price was reasonable as Acthar sold at that

time for only $40 per vial, suiting its position as a relatively ancient drug, long off patent

protection, that had not been actively marketed by Aventis and prescribed for only a very small

number of patients.

       8.         Following the acquisition of Acthar by Questcor, its new owner set out upon a

new direction for the sale and marketing of the drug and drastically increased the price charged

for Acthar, as described below. Not only did Questcor significantly increase its sales and


1
  ACTH stands for adrenocorticotropic hormone, which is an adrenal hormone made in the
pituitary gland that acts on the adrenal cortex to stimulate the production of steroid hormones.
Acthar is an injected medication that is used to treat several types of conditions, including
infantile spasms as well as disorders of the joints, skin, eyes, and respiratory system. It works
by stimulating the outer layer of cells of the adrenal gland, promoting the production of natural
hormones that reduce inflammation. Once injected, it is absorbed into the bloodstream and
upon reaching the adrenal gland, steroid hormones (largely cortisol) are produced.
                                                 5
               Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 6 of 105



marketing efforts for Acthar, but it also sought FDA approval for the use of Acthar in treating

Infantile Spasms.

          9.     The FDA approved a supplemental new drug application for Acthar in the

treatment of Infantile Spasms in October 2010. Coincidentally, the FDA also approved a revised

label that included 19 different medical conditions – down from the more than 50 different

treatment indications for which Acthar had been previously approved. According to an October

15, 2010 Questcor release, the 19 indications were organized under the following nine disease

states:

          Infantile spasms: H. P. Acthar Gel (repository corticotropin injection) is
          indicated as monotherapy for the treatment of infantile spasms in infants and
          children under 2 years of age.

          Multiple Sclerosis: H. P. Acthar Gel (repository corticotropin injection) is
          indicated for the treatment of acute exacerbations of multiple sclerosis in adults.
          Controlled clinical trials have shown H. P. Acthar Gel to be effective in speeding
          the resolution of acute exacerbations of multiple sclerosis. However, there is no
          evidence that it affects the ultimate outcome or natural history of the disease.

          Edematous State: To induce a diuresis or a remission of proteinuria in the
          nephrotic syndrome without uremia of the idiopathic type or that due to lupus
          erythematosus.

          Rheumatic Disorders: As adjunctive therapy for short-term administration (to
          tide the patient over an acute episode or exacerbation) in Psoriatic arthritis,
          Rheumatoid arthritis, including juvenile rheumatoid arthritis (selected cases may
          require low-dose maintenance therapy), Ankylosing spondylitis.

          Collagen Diseases: During an exacerbation or as maintenance therapy in selected
          cases of: systemic lupus erythematosus, systemic dermatomyositis (polymyositis)

          Dermatologic     Diseases:    Severe    erythema    multiforme,    Stevens-Johnson
          syndrome.

          Allergic States: Serum sickness.

          Ophthalmic Diseases: Severe acute and chronic allergic and inflammatory
          processes involving the eye and its adnexa such as: keratitis, iritis, iridocyclitis,

                                                   6
               Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 7 of 105



         diffuse posterior uveitis and choroiditis; optic neuritis; chorioretinitis; anterior
         segment inflammation.

         Respiratory Diseases: Symptomatic sarcoidosis.

         10.     From the time of its purchase of Acthar in the second half of 2001, Questcor’s

sales of Acthar increased from $9.0 million and $8.0 million in 2002 and 2003, respectively, to

$114.7 million in 2010, and to $761.3 million in 2013. By that time, Acthar sales accounted for

more than 95% of Questcor’s total revenues. Taking advantage of Acthar’s monopoly status as

the only ACTH drug approved for sale in the United States, the price was raised from $40 per

vial in 2001, to around $1,650 per vial by 2006, to more than $23,000 per vial in 2007, and to

$28,000 per vial by 2012.

         11.     On April 7, 2014, Mallinckrodt and Questcor entered into a merger agreement

pursuant to which Mallinckrodt agreed to pay approximately $5.6 billion in cash and stock to

Questcor shareholders.       The deal price translated to $86.10 per Questcor share, which

represented a 27% premium over Questcor’s closing price on the prior trading day’s closing

price.   In announcing the deal, Mallinckrodt, whose fiscal year 2014 would be ending on

September 26, 2014, stated that it expected the deal to be immediately accretive to 2014 earnings

and “significantly accretive” to 2015 results. Defendant Trudeau further stated: “Acthar is

increasingly being employed by specialty physicians in the treatment of a range of serious,

difficult-to-treat autoimmune and inflammatory conditions, where patients often have exhausted

other good therapeutic options.”

         12.     With the completion of the merger on August 14, 2014, Mallinckrodt acquired

ownership of Acthar.      From that point onward, Acthar accounted for as much as 39% of

Mallinckrodt’s total revenues on an annual basis as Mallinckrodt extended its marketing efforts

of the product and continued to increase its price, resulting in a price of more than $34,000 per
                                                  7
             Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 8 of 105



vial in 2016, which was 850 times its cost of $40 in 2001. As demonstrated in Company

presentations, although Acthar was approved by the FDA for use in connection with 19

treatments, the Company only marketed Acthar in the United States for nine medical conditions

in four areas: Neurology (for Infantile Spasms and Multiple Sclerosis flares in adults);

Rheumatology (for Lupus, Dermatomyositis/polymositis, Rheumatoid Arthritis flares, Psoriatic

Arthritis flares, and Ankylosing Spondylitis flares); Pulmonology (Symptomatic Sarcoidosis);

and Nephrology (Edematous State (remission of proteinuria in Nephrotic Syndrome)).

       B.      The Unlawful Efforts to Block Competition to Acthar and Preserve Acthar’s
               ACTH Monopoly
       13.     The only potentially competing ACTH product to Acthar in the United States

were Synacthen and Synacthen Depot2 (together, “Synacthen”), which, unlike Acthar, are

synthetic compounds made in a laboratory, and thus a potentially more attractive drug whose

consistency and purity could be ensured and carefully monitored in the manufacturing process.

       14.     Before 2013, Synacthen was owned by Novartis AG and was licensed and sold in

various other countries and regions, including in Canada and Europe, to treat many of the same

conditions for which Acthar was approved in the United States. However, Synacthen could not

be sold in the United States because it had not yet attained the requisite FDA approval, which

now required proof that it was both safe and effective via the submission of a new drug

application (unlike Acthar, which had been licensed for sale in 1952 based solely on evidence

that it was safe). The U.S. licensing of Synacthen was dependent upon prior completion of

adequate testing to prove, to the FDA’s satisfaction, both the safety and efficacy for each disease

for which it would be used.


2
  A depot is a drug formulation that allows gradual absorption, over a long period, from a
quantity deposited by injection under the skin or in a muscle.
                                                8
             Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 9 of 105



       15.     The existence of Synacthen, which has the same first 24 amino acids as Acthar,

challenged the monopoly held by Questcor, and later, Mallinckrodt, if Synacthen could be

offered as an alternative in the United States for the high priced Acthar. This made Synacthen a

very attractive investment to other pharmaceutical companies seeking to challenge Questcor’s

U.S. monopoly on ACTH-based drugs.

       16.     The prospect of competition from Synacthen was greatly appreciated by Questcor,

and thereby made the purchase of Synacthen by Questcor critical to preserving the U.S.

monopoly in ACTH drugs that was seen as essential to the financial success of Questcor.

       17.     When Novartis let it be known that it was considering licensing the rights to

manufacture and sell Synacthen in the United States, and most of the rest of the world, other than

countries for which Novartis had already transferred those rights, several prospective acquirers

emerged.

       18.     At least three companies, other than Questcor, simultaneously negotiated with

Novartis to acquire these rights to Synacthen.      However, Synacthen had a unique value to

Questcor, as it sought to control this single potentially competing alternative ACTH drug in the

United States market by obtaining the exclusive rights to develop, manufacture and sell

Synacthen in the United States and many other countries, particularly because Acthar accounted

for approximately 95 percent of Questcor’s revenues at that time.

       19.     Compelled by its desire to preserve its monopoly on ACTH medications in the

United States, Questcor far outbid the three alternative acquirers and announced that it was

successful in acquiring the rights to develop and market Synacthen in the United States and

many countries outside the United States in June 2013.          At the time Questcor acquired

Synacthen, Questcor’s Chief Scientific Officer stated that the company intended to “develop and

                                                9
             Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 10 of 105



seek FDA approval for Synacthen” and was “committed to developing this product not only in

conditions different than Acthar but also in conditions where Synacthen would potentially

provide a clinical benefit over Acthar.”

       20.     Questcor was purchased by Mallinckrodt in August 2014. With that transaction,

Mallinckrodt acquired ownership of the Acthar franchise as well as the rights to develop

Synacthen in the United States (subject to FDA approval) and to market and sell it in many

countries outside the United States where it was already approved. However, the leadership of

Mallinckrodt had no intention to develop Synacthen in the U.S. market for any indications that

could potentially compete with its lucrative Acthar franchise.      Instead, from the time that

Mallinckrodt acquired Questcor, Mallinckrodt sought to preserve the unlawful ACTH monopoly

and reap monopoly profits from the sale of Acthar by seeking to develop Synacthen for only one

medical treatment that did not overlap in any way with any of the treatments for which

Mallinckrodt was marketing Acthar.

       21.     As a result, Mallinckrodt engaged in unlawful, anticompetitive, monopolistic

conduct. Mallinckrodt and its executives acted, and throughout the Relevant Period would

continue to act, to unlawfully forestall any meaningful competition for its monopoly product, all

while making false and materially misleading statements to investors about the “competition” to

Mallinckrodt’s Acthar products. Such statements, which are identified and more fully described

below, served to create a false impression of the Company’s ability to preserve and exploit its

monopoly position and resulting profits, and artificially inflated the prices of Mallinckrodt’s

securities during the Relevant Period.

       22.     Additionally, Mallinckrodt and its top executives affirmatively lied to investors

regarding the true extent of Acthar’s reliance on Medicare and Medicaid by intentionally

                                               10
             Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 11 of 105



providing false data to the market in the fall of 2015 that Acthar was not as dependent on

reimbursements from these programs as it actually was. This fact was crucial to investors, and

when they finally learned the truth – that the percentage of Acthar sales paid for by Medicare and

Medicaid, rather than private insurance companies, was far higher than the level publicly

reported – the Company’s stock price fell, illustrating the greater risk associated with the private

insurers’ reluctance to pay stratospheric prices for Acthar.

       C.      The Truth About Mallinckrodt’s Acthar Franchise and Practices Comes to
               Light Over a Series of Disclosures and Actions

       23.     The hyper-inflation of the price of Acthar prompted an inevitable reaction as

insurers and other payers started to push back. Although there were indications that Questcor

had faced some insurer resistance to certain of the uses for which Questcor was selling Acthar,

the first revelation of problems with private insurers that affected Mallinckrodt’s bottom line

came on August 4, 2015, when the Company reported its third quarter earnings and announced a

slight reduction in its sales forecast for Acthar because of pressure from health insurance

companies and other payers regarding the drug’s exorbitant cost.       During an August 4, 2015

earnings conference call, Defendant Trudeau said that Acthar was facing a more difficult payer

environment than the previous year, which was changing the Company’s perspective on the

long-term prospects for the drug. As a consequence, the price of Mallinckrodt stock dropped

14% from $124.21 per share to $106.73 per share, as investors started to question the

sustainability of Acthar’s pricing, thereby threatening one of the Company’s primary sources of

revenue and earnings. But Defendants continued to make false and misleading statements about

the Company’s operations relating to Acthar, as well as the Company’s ability to attain

reimbursement from private insurers for Acthar sales.


                                                 11
             Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 12 of 105



       24.     During this same time period, the skyrocketing prices of certain pharmaceutical

products was a strongly debated topic, both generally and as it impacted spending by the

Government through the Medicare and Medicaid systems.             This understandably led the

investment community to seek out information concerning the extent of Acthar’s exposure to

Medicare and Medicaid. In response to this questioning during an October 6, 2015 investor

presentation, Defendant Trudeau stated that the Company’s combined revenues from Medicare

and Medicaid were roughly 25% of Mallinckrodt’s total revenues, and that the proportion of

Acthar revenues attributable to Medicare and Medicaid was “maybe a little higher than that.”3

As would be disclosed later in the Relevant Period, Medicare and Medicaid reimbursements

actually accounted for over 60% and over 61% of the Company’s total sales of Acthar in 2014

and 2015, respectively.

       25.     The truth about Mallinckrodt’s dependence on Acthar sales for its profitability as

well as its dependence on Medicare and Medicaid reimbursements for revenue from the sale of

Acthar started to surface when Andrew Left, an activist short seller, author and editor of the

online investment newsletter Citron Research (“Citron”), which at the time was best known for

uncovering fraudulent practices to inflate drug sales at Valeant Pharmaceuticals, tweeted on

November 9, 2015, that Mallinckrodt stock had significantly more “downside” than Valeant and

was “a far worse offender of the reimb[ursement] sys[tem].” Valeant had been a notorious case

of fraud tied, in part, to massive inflation of prescription drug prices, and led to numerous

Government investigations, private securities litigation and criminal charges. By issuing this

statement, Citron helped to reveal the impact of the wrongdoing by Mallinckrodt, and that it was



3
  Unless otherwise indicated, emphasis provided by bolded and italicized text has been added in
this Complaint.
                                               12
             Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 13 of 105



even greater than the notorious benchmark provided by Valeant, which the market knew had

already resulted in substantial harm to investors.

       26.     Following that Citron tweet, shares of Mallinckrodt dropped 17% from $69.89 per

share, the closing price of the Company’s stock on November 6, 2015, to $58.01 per share at the

close on November 9, 2015. This was the largest one-day drop in the price of the stock since

Mallinckrodt was spun-off from Covidien PLC in 2013.

       27.     Citron tweeted another statement on March 15, 2016 underscoring the increasing

risk posed by Mallinckrodt’s anticompetitive behavior – “Mkt. is starting to realize that $MNK

[Mallinckrodt] equal risk to $VRX [Valeant].” Citron’s Andrew Left appeared on CNBC’s Fast

Money that same day and said that Mallinckrodt made Valeant look like a “choirboy” and

referred to Acthar as the “poster child” of price gouging. Left explained: “I think Mallinckrodt is

worse [than Valeant] because they are dependent on one drug, close to let’s say 50 percent of

their EBITDA, depends on what metric you want to look at, is dependent on one particular drug.

Not let’s say 30 [different drugs] that Valeant has.”

       28.     The importance of Left’s observations sent the price of Mallinckrodt stock down

by 20% over a two-day period from a close of $69.61 per share on March 14, 2016 to a close of

$55.69 per share on March 16, 2016, illustrating the magnitude of this disclosure. But this did

not fully disclose the full extent of Defendants’ prior false and misleading statements, which

continued throughout the remainder of the Relevant Period.

       29.     The true extent of Mallinckrodt’s reliance on Acthar’s Medicaid and Medicare

reimbursements was not revealed until November 16, 2016, when Citron published a report

based on information displayed on the website of the Centers for Medicare and Medicaid

(“CMS”) of the United States Department of Health and Human Services on November 14, 2016

                                                 13
             Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 14 of 105



(the “Citron Report”). The Citron Report compared the new information issued by CMS against

the statements Trudeau had made during the October 6, 2015 investor presentation. The Citron

Report revealed that Medicare and Medicaid paid approximately $504 million and $144.6

million respectively for Acthar in 2015, payments that collectively amounted to over 61% of

Mallinckrodt’s total sales of Acthar in 2015. That was a far cry from the 25% or “maybe a little

higher” that Trudeau had provided to the market on October 6, 2015.

       30.     In response to the issuance of the Citron Report revealing the truth about the

overwhelming percentage of Acthar sales attributable to payments by Medicare or Medicaid,

rather than private insurance, shares of Mallinckrodt dropped 18.4% from a close of $67.80 per

share on November 15, 2016 to a close of $59.65 on November 16, 2016 and to a close of $55.32

per share on November 17, 2016. Yet, again, this still did not reveal the full extent of the

Company’s false statements and illegal conduct regarding its marketing and sale of Acthar.

       31.     On January 18, 2017, the U.S. Federal Trade Commission (“FTC”) and five states

charged Mallinckrodt and its Questcor subsidiary with unfair methods of competition and acts of

monopolization in violation of the Sherman Act, and announced that the Company and its

Questcor division had entered into a Consent Decree to resolve the FTC’s charges. A complaint

was filed at the conclusion of the FTC’s more than two-year long investigation (the “FTC

Complaint”).

       32.     The FTC Complaint detailed the foundation for establishing that Synacthen was a

potentially competing ACTH drug to Acthar. The FTC Complaint pointed out that “[i]n Europe,

Canada, and other parts of the world, doctors treat patients suffering from [the] same conditions

[treated with Acthar] with Synacthen Depot.” FTC Complaint ¶ 6. It also stated that “[i]n 2006,

when Questcor decided to pursue an ‘orphan’ (i.         e., high) pricing model for Acthar, it

                                               14
           Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 15 of 105



recognized the potential threat Synacthen posed to Acthar’s revenue growth,” and that it

approached Novartis, the then-current owner of Synacthen, about acquiring Synacthen in 2009.

After Questcor failed to acquire the rights to develop and market Synacthen at that time,

“Questcor continued to monitor the competitive threat from Synacthen,” and ultimately outbid at

least three other serious prospects to acquire it. The FTC Complaint stated:

       Unbeknownst to Questcor at the time, Novartis decided in late 2011 to divest
       exclusive rights to seek FDA approval for Synacthen and commercialize it in the
       United States, along with the marketing rights for Synacthen in over thirty-five
       other countries where the drug was already approved and sold. Dozens of
       companies contacted Novartis and expressed interest in acquiring Synacthen.
       Three firms proceeded through several rounds of negotiations with Novartis,
       submitted formal offers, and drafted near-final agreements. (FTC Complaint ¶
       41).

       Each of the three firms planned to develop Synacthen for IS [infantile spasms]
       and/or IMN [idiopathic membranous nephropathy, the single largest cause of a
       kidney disorder called nephrotic syndrome (“NS”)] and use Synacthen to compete
       directly with Acthar. With approval for one or both of these indications, each
       firm expected to capture a significant share of the U.S. ACTH market from
       Questcor by pricing Synacthen well below Acthar. Having the requisite
       pharmaceutical expertise and financing, the three firms independently conducted
       due diligence, crafted business plans and regulatory approval strategies, and took
       other affirmative steps in furtherance of developing Synacthen for the U.S.
       market. (FTC Complaint ¶ 42).

                                        *       *       *

       In October 2012, Questcor learned that at least one unidentified firm was
       attempting to acquire Synacthen from Novartis and develop it for the United
       States. Questcor immediately attempted to reach Novartis and shortly thereafter
       signed a confidentiality agreement with Novartis and submitted an offer for
       Synacthen. (FTC Complaint ¶ 46).

       Novartis negotiated with the three alternative bidders in parallel with Questcor.
       By the spring of 2013, all three of the alternative bidders had submitted offers for
       Synacthen, with plans to develop and launch Synacthen in the United States in
       direct competition with Acthar. (FTC Complaint ¶ 47).

                                        *       *       *


                                               15
             Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 16 of 105



       Unlike the three alternative bidders, Questcor had only inchoate plans for
       Synacthen and conducted limited due diligence when it submitted its initial offer
       to Novartis. (FTC Complaint ¶ 48).

       33.     On the same day the FTC filed its Complaint, the Company entered into a

Consent Decree with the FTC and announced a settlement of its charges. To settle the FTC

charges, Mallinckrodt was required to pay a $100 million fine to the federal government and to

sub-license certain of its U.S. development rights to Synacthen to a company that would need to

be approved by the FTC. The sub-license was for two of the primary indications for which

Mallinckrodt has marketed and sold Acthar: Infantile Spasms and Nephrotic Syndrome.

       34.     The news of the FTC settlement caused the Company’s stock to drop 5.85% or

$2.89, to a close of $46.53 per share on January 18, 2017, from its previous close of $49.42 per

share on January 17, 2017.

       35.     Even after the revelations concerning the true extent of Acthar sales that were

reimbursed by Medicare and Medicaid compared to private insurers and the settlement with the

FTC, Defendants continued to make statements that misled the market with regard to the long-

term prospects for the Company’s Acthar sales and served to maintain Mallinckrodt’s stock price

at artificially inflated levels. These included statements regarding Acthar’s stated growth across

the payer mix, strengthened formulary positions, removal or relaxation of previous formulary

restrictions, expansion in terms of the number of commercial lives under contract, and guidance

that was consistently stated and reiterated throughout 2017 for mid-single digit to low double

digit growth in net Acthar sales.

       36.     The falsity of Defendants’ statements in this regard became known when, on

November 7, 2017, the Company reported for the first time in its history that net sales of Acthar

in the quarter had declined from the net sales in the comparable quarter in the prior year. In

                                               16
             Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 17 of 105



particular, the Company disclosed that its net Acthar sales in the third quarter ended September

29, 2017 were $308. 7 million, down by 5.6% from net sales of $327. 0 million during the same

quarter in 2016. The Company attributed the sales decline, in part, to a volume decline that

resulted from “an increasing number of prescriptions going unfilled beyond the level we had

seen previously,” and said that the Company expected that fourth quarter 2017 net Acthar sales

would also be down sequentially. Moreover, in responding during a conference call to one of the

many analyst questions concerning the Company’s Acthar sales, Defendant Trudeau conceded

that Acthar “continues to experience payer pressures” and “we expect those payer pressures to

continue to be more challenging. We expect payers to put more and more hurdles in front of

patients getting reimbursement.… The situation that we’re experiencing now is this combination

of both those payer pressures, plus … the additional issue that we’re seeing with these patient

prescriptions going unfilled at this point.”4

       37.     With these disclosures, the full truth about Mallinckrodt’s Acthar’s business was

finally revealed. The price of Mallinckrodt stock fell by 35.5%, falling by $11.07 per share from

a closing price of $31.18 on November 6, 2017, to a closing price of $20.11 on November 7,

2017, on enormous volume of over 34 million shares traded. The Company’s stock price has

continued to decline, closing at approximately $4.00 on August 21, 2019.


4
  The decline in Acthar sales in the third quarter 2017 from the comparable quarter in 2016 was
no fluke. Confirming that the Company was facing far greater reimbursement issues with
private insurers than had been disclosed during the Relevant Period, declining sales have
worsened in the fourth quarter 2017 and the first quarter 2018. Net Acthar sales declined 9.3%
in the fourth quarter 2017 compared to the fourth quarter 2016, and they declined 10.3% in the
first quarter 2018 compared to the first quarter 2017.

Mallinckrodt used the term “payor” in SEC filings in 2014, but thereafter used the term “payer”
in its SEC filings. Accordingly, unless the term is quoted from a year 2014 SEC filing, this
Complaint shall hereafter use the term “payer” rather than “payor,” even if a call transcript
showed it otherwise.
                                                17
             Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 18 of 105



       38.     As a result of Defendants’ wrongful conduct, Mallinckrodt disseminated false and

misleading statements, and omitted material information to make such statements not false and

misleading when made. The improper statements have devastated Mallinckrodt’s credibility.

Mallinckrodt has been, and will continue to be, severely damaged and injured by Defendants’

misconduct.

II.    JURISDICTION AND VENUE

       39.     This Court has jurisdiction over the claims asserted herein under 28 U.S.C. § 1331

because the claims arise under and pursuant to §§ 10(b) and 20(a) of the Securities Exchange Act

of 1934 (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder (17 C.F.R. §

240.10b-5). The Court has supplemental jurisdiction over the remaining claims under 28 U.S.C.

§ 1367.

       40.     Venue is proper in this Court because a substantial portion of the transactions and

wrongs complained of herein occurred in this District, and Defendants have received substantial

compensation within this District by doing business here and engaging in numerous activities

that had an effect in this jurisdiction.    In particular, the settlement between the FTC and

Mallinckrodt was filed in this District. See Joint Mot. for Entry of Stipulated Order for Perm.

Inj. & Equitable Monetary Relief, Federal Trade Comm’n v. Mallinckrodt ARD Inc., No. 1:17-

cv-00120, ECF No. 2 (D.D.C. Jan. 18, 2017).

       41.     In relation to the acts, transactions, and conduct alleged herein, Defendants

directly and indirectly used the means and instrumentalities of interstate commerce, including the

United States mail, interstate telephone communications, and the facilities of a national securities

exchange.

III.   PARTIES

                                                18
             Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 19 of 105



       A.       Plaintiff

       42.      Plaintiff has continuously been a shareholder of the Company throughout the

period of the wrongdoings complained of herein, and is a current shareholder.

       B.       Nominal Defendant

       43.      Nominal Defendant Mallinckrodt is a corporation organized under the laws of

Ireland, and is based in Staines-upon-Thames, England.         Mallinckrodt maintains its U.S.

headquarters at 675 McDonnell Blvd., St. Louis, MO 63042. According to the Company’s

public statements and filings with the SEC, the Company develops, manufactures, markets, and

distributes branded and generic specialty pharmaceutical products worldwide. Mallinckrodt’s

Specialty Brands segment, which markets Acthar, markets branded pharmaceutical products for

autoimmune and rare diseases, including the specialty areas of neurology, rheumatology,

nephrology, ophthalmology, and pulmonology; as well as immunotherapy and neonatal

respiratory critical care therapies and central nervous system drugs. During the Relevant Period,

the Company also had a Specialty Generics line of business, which has been discontinued, that

provided     specialty   generic   pharmaceuticals   and   active   pharmaceutical   ingredients.

Mallinckrodt’s common stock shares trade on the New York Stock Exchange (“NYSE”) under

the ticker symbol “MNK.”

       C.       Defendants

       44.      Defendant Mark Trudeau was, at all relevant times, CEO and President of

Mallinckrodt, a member of the management executive committee, and also served as a member

of the Company’s Board of Directors. In anticipation of the spin-off of Mallinckrodt from

Covidien PLC, Trudeau joined Covidien plc in February 2012 as a Senior Vice President and

President of its Pharmaceuticals business. He became CEO and President of Mallinckrodt in

                                                19
             Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 20 of 105



June 2013, when Mallinckrodt became an independent public company.               Trudeau joined

Covidien from Bayer HealthCare Pharmaceuticals LLC USA, the U.S. healthcare business of

Bayer AG, where he served as Chief Executive Officer. He simultaneously served as President

of Bayer HealthCare Pharmaceuticals, the U.S. organization of Bayer’s global pharmaceuticals

business. In addition, he served as Interim President of Bayer’s global specialty medicine

business unit from January to August 2010. Before joining Bayer in 2009, Trudeau headed the

Immunoscience Division at Bristol-Myers Squibb. During his time at Bristol-Myers Squibb, he

served in multiple senior roles, including President of the Asia/Pacific region, President and

General Manager of Canada and General Manager/Managing Director in the United Kingdom.

Trudeau was also with Abbott Laboratories, serving in a variety of executive positions, from

1988 to 1998.

       45.      Throughout the Relevant Period, Trudeau signed each of the SEC Forms 10-K

and 10-Q publicly issued by the Company and filed with the SEC, and regularly participated on

the Company’s quarterly earnings calls and in other investor or analyst presentations. Trudeau

also made statements alleged to be materially false and misleading in this Complaint.

       46.      During the years 2014 through 2017, Trudeau received the following total

compensation from the Company:




       47.      Defendant Matthew K. Harbaugh (“Harbaugh”) was, at all relevant times, Vice

President and CFO of Mallinckrodt. Harbaugh formerly served as Vice President, Finance of

Covidien’s Pharmaceuticals business, a position he held from July 2008 until June 2013, when

Mallinckrodt spun-off from Covidien and became an independent public company. He also

                                               20
             Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 21 of 105



served as Interim President of Covidien’s Pharmaceuticals business from November 2010 to

January 2012. Harbaugh joined Covidien’s Pharmaceuticals business in August 2007 as its Vice

President and Controller, Global Finance for the Global Medical Imaging business. He was also

a Lead Finance Executive with Cerberus Capital Management, L.P., a New York-based private

equity firm, from April 2007 until August 2007. Prior to that Harbaugh worked nearly ten years

for Monsanto, where he held several positions, including corporate finance director, investor

relations, and finance director/chief financial officer for Monsanto’s Argentine/Chilean and

Canadian operations via two expatriate assignments.

       48.     Throughout the Relevant Period, Harbaugh signed each of the Company’s Forms

10- K and 10-Q publicly issued and filed with the SEC, and also regularly participated on the

Company’s quarterly earnings calls and in other investor or analyst presentations:

       49.     During the period from 2014 through 2017, Harbaugh received the following total

compensation from the Company:




       50.     Defendant Hugh O’Neill (“O’Neill”) was, at all times relevant, an Executive Vice

President and President, Autoimmune and Rare Diseases (“ARD”) at the Company’s

Mallinckrodt Pharmaceuticals division. He also served as a member of Mallinckrodt’s executive

committee. According to the Company’s website, O’Neill has executive responsibility and

directly manages all commercialization efforts and broad market access activities for ARD

portfolio within the Company’s Specialty Brands segment, which includes Acthar.          He is

currently Executive Vice President and Chief Commercial Officer at Mallinckrodt. Prior to

joining Mallinckrodt, O’Neill held various commercial leadership positions at Sanofi, including

                                               21
             Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 22 of 105



vice president of commercial excellence, general manager, president of Sanofi Canada, and vice

president of market access and business development.         He had also worked at Pharmacia,

Novartis and Sandoz.

       51.     Throughout the Relevant Period, O’Neill regularly participated on the Company’s

earnings calls and in other investor and analyst presentations.

       52.     During the period from 2014 through 2017, O’Neill received the following total

compensation from his service as an executive with the Company:




       53.     Defendants Trudeau, Harbaugh, and O’Neill are referred to collectively herein as

the “Officer Defendants.”

       54.     Defendant Angus Russell (“Russell”) has been the chairman of the Board since

May 2018 and a director since August 2014. Defendant Russell is a member of the Board’s

Portfolio Committee and its Audit Committee.

       55.     Defendant David Carlucci (“Carlucci”) has been a member of the Board since

2014. Defendant Carlucci is a member of the Board’s Human Resources and Compensation

Committee.

       56.     Defendant J. Martin Carroll (“Carroll”) has been a member of the Board since

2013. Defendant Carroll is a member of the Board’s Governance and Compliance Committee.

       57.     Defendant David Norton (“Norton”) has been a member of the Board since 2017.

Defendant Norton is a member of the Board’s Human Resources and Compensation Committee.

       58.     Defendant JoAnn Reed (“Reed”) has been a member of the Board since 2013.

Defendant Reed is a member of the Board’s Audit Committee.

                                                22
                  Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 23 of 105



            59.     Defendant Kneeland Youngblood (“Youngblood”) has been a member of the

Board since 2013.          Defendant Youngblood is a member of the Board’s Governance and

Compliance Committee.

            60.     Defendants Trudeau, Russell, Carlucci, Carroll, Norton, Reed, and Youngblood

are collectively referred to herein as the Director Defendants

            61.     The Director Defendants, together with the Officer Defendants, are referred to

collectively herein as the “Defendants.”

            D.      Related Party Non-Defendants

            62.     Paul R. Carter (“Carter”) has been a member of the Board since 2018. Carter is a

member of the Board’s Audit Committee. Carter is named solely for the purpose of demand

futility.

            63.     Carlos V. Paya (“Paya”) has been a member of the Board since 2019. Paya is a

member of the Board’s Portfolio Committee. Paya is named solely for the purpose of demand

futility.

            64.     Anne C. Whitaker (“Whitaker”) has been a member of the Board since 2018.

Whitaker is a member of the Board’s Human Resources and Compensation Committee.

Whitaker is named solely for the purpose of demand futility.

IV.         SUBSTANTIVE ALLEGATIONS

            A.      Mallinckrodt Goes Public and Acquires a Series of Companies

            65.     Mallinckrodt is a specialty pharmaceutical company that develops, manufactures,

markets and distributes branded and generic pharmaceutical products and therapies.              The

Company was spun-off from Covidien PLC in June 2013 and began trading on the NYSE on

July 1, 2013.

                                                   23
             Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 24 of 105



       66.     After going public in 2013, Mallinckrodt made several acquisitions of other

pharmaceutical companies. The major ones were:




       67.     By acquiring pharmaceutical companies like Cadence and Questcor with old

drugs that have little competition, Mallinckrodt could immediately increase their price. For

example, in February 2014, Mallinckrodt purchased Cadence Pharmaceuticals.             After the

acquisition, Mallinckrodt increased the cost of injectable acetaminophen from $14.60 to $35.05

for each 1gram vial – a 140% increase over the 37% price increase implemented by Cadence

during the three years before the Company’s acquisition.

       B.      Mallinckrodt’s Acquisition of Questcor

       68.     In August 2014, Mallinckrodt acquired Questcor for $5.6 billion in cash and

shares of the Company’s common stock. At that time, Acthar comprised substantially all of

Questcor’s net sales. In 2001, Questcor had acquired the rights to Acthar for $100,000, plus

modest royalties when Acthar was selling for $40 per vial. Questcor steadily increased the price,

including a steep increase in 2007 to more than $23,000 per vial from $1,650 per vial from 2006.

       69.     Acthar was, and remains today, the only approved therapeutic preparation of

ACTH in the United States. Acthar is currently approved by the FDA as a treatment for 19

                                               24
             Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 25 of 105



different conditions, including Infantile Spasms and other serious conditions, including

autoimmune and inflammatory conditions.

       70.     As stated in Questcor’s Form 10-K for the year ended December 31, 2013

(“Questcor 2013 10-K”), Questcor derived substantially all of its pharmaceutical net sales from

the use of Acthar in connection with four indications, which were described as follows in the

Questcor 2013 10-K:

       Questcor Pharmaceutical Segment Nephrotic Syndrome (NS):

       Acthar is indicated “to induce a diuresis or a remission of proteinuria in the
       nephrotic syndrome without uremia of the idiopathic type or that due [sic.] to
       lupus erythematosus.” According to the National Kidney Foundation, nephrotic
       syndrome can result from several idiopathic type kidney disorders, including
       idiopathic membranous nephropathy, focal segmental glomerulosclerosis, IgA
       nephropathy and minimal change disease. Nephrotic syndrome can also occur
       due to lupus erythematosus. In this Form 10-K, the terms “nephrotic syndrome”
       and “NS” refer only to the proteinuria in nephrotic syndrome conditions that are
       covered by the Acthar label of approved indications.

       Rheumatology Related Conditions: Acthar is approved for the following
       rheumatology related conditions: (i) Collagen Diseases: Acthar is indicated
       “during an exacerbation or as maintenance therapy in selected cases of systemic
       lupus erythematosus, systemic dermatomyositis (polymyositis)” and (ii)
       Rheumatic Disorders: Acthar is indicated as “adjunctive therapy for short-term
       administration (to tide the patient over an acute episode or exacerbation) in:
       Psoriatic arthritis, Rheumatoid arthritis, including juvenile rheumatoid arthritis
       (selected cases may require low-dose maintenance therapy), Ankylosing
       spondylitis.”

       Multiple Sclerosis (MS): Acthar is indicated “for the treatment of acute
       exacerbations of multiple sclerosis in adults. Controlled clinical trials have shown
       H. P. Acthar Gel to be effective in speeding the resolution of acute exacerbations
       of multiple sclerosis. However, there is no evidence that it affects the ultimate
       outcome or natural history of the disease.”

       Infantile Spasms (IS): Acthar is indicated “as monotherapy for the treatment of
       infantile spasms in infants and children under 2 years of age.”




                                               25
             Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 26 of 105



       71.     The Questcor 2013 10-K provided the following background regarding the

development of Acthar, its approval for 19 different treatments in the United States, and the

testing that had and had not been required to obtain FDA approval for Acthar’s use in humans:

       Acthar was originally approved by the FDA in 1952, for the treatment of
       approximately 50 different medical conditions, or “indications.” This was prior to
       the enactment of the 1962 Kefauver Harris Amendment, or the “Drug Efficacy
       Amendment,” to the Food, Drug, and Cosmetic Act, which introduced the
       requirement that drug manufacturers provide proof of the effectiveness (in
       addition to the previously required proof of safety) of their drugs before approval.
       As such, the FDA’s original approval in 1952 was based on safety; clinical trials
       evaluating efficacy were not required. In the 1970s the FDA reviewed the safety
       and efficacy of Acthar during its approval of Acthar for the treatment of acute
       exacerbations in Multiple Sclerosis (MS) and evaluated all other previous
       indications on the label through the process called DESI – Drug Efficacy Study
       Implementation. In this process the medical and scientific merits of the label and
       each indication on the label were evaluated based on publications, information
       from sponsors, and the judgment of the FDA. The label obtained after the DESI
       review and the addition of the MS indication is the Acthar label that was used
       until the most recent changes in 2010.

       72.     The Questcor 2013 10-K further disclosed the critical importance of Acthar sales

to its overall operations, and the significant growth in sales that Questcor had achieved over the

prior three years, as follows:

       Our total net sales were $798.9 million for the year ended December 31, 2013 as
       compared to $509.3 million and $218.2 million for the years ended December 31,
       2012 and 2011, respectively. Over 95% of our net sales in each of these years
       were from Acthar. Our net income was $292.6 million for the year ended
       December 31, 2013 as compared to $197.7 million and $79.6 million for the years
       ended December 31, 2012 and 2011, respectively.

       73.     Questcor also described its acquisition in June 2013 of the rights to market

Synacthen, a synthetic ACTH drug, in the United States and in certain countries overseas, in the

Questcor 2013 10-K, as follows:

       Acquisition of Synacthen and Synacthen Depot

       On June 11, 2013, the Effective Date, we acquired from Novartis AG and
       Novartis Pharma AG, collectively Novartis, a license to develop, market,
                                               26
             Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 27 of 105



       manufacture, distribute, sell and commercialize Synacthen and Synacthen Depot
       for all uses in humans in the United States. Subject to certain conditions and
       limitations in the License Agreement, the license is exclusive, perpetual and
       irrevocable. Synacthen Depot is a synthetic melanocortin agonist approved in
       various countries outside of the United States for certain autoimmune and
       inflammatory conditions. Since our acquisition of Synacthen and Synacthen
       Depot, we have implemented a new research and development program for
       Synacthen Depot and intend to seek FDA approval. Prior to our acquisition,
       Synacthen Depot has never been developed for approval for patients in the United
       States.

       Subject to certain closing conditions, we also will acquire from Novartis a license
       and certain assets to develop, market, manufacture, distribute, sell and
       commercialize Synacthen and Synacthen Depot in certain countries outside the
       U.S. for all uses in humans. Subject to certain conditions and limitations, these
       rights and assets are exclusive, perpetual and irrevocable. Under the terms of the
       transaction agreements, we paid Novartis an upfront consideration of $60.0
       million. We will also be making annual cash payments of $25 million on each of
       the first, second and third anniversaries of the Effective Date, a potential
       additional annual cash payment on each anniversary subsequent to the third
       anniversary until we obtain the first approval of the FDA related to the products,
       or the FDA Approval, and a milestone payment upon our receipt of the FDA
       Approval. If we successfully obtain FDA Approval, we will pay an annual
       royalty to Novartis based on a percentage of the net sales of the product in the
       U.S. market until the maximum payment is met. The first three annual payments
       aggregating to $75.0 million are secured by a letter of credit and classified as
       restricted cash on the Consolidated Balance Sheets. In no event will the total
       payments related to this transaction exceed $300 million.

       74.     And, relating to Questcor’s research and development actions relating to Acthar

and Synacthen, Questcor stated the following in the Questcor 2013 10-K:

       Research and Development

       Our research and development program for Acthar is focused on: (i) the continued
       evaluation of the use of Acthar for certain on-label indications; (ii) the
       investigation of other potential uses of Acthar for indications not currently FDA
       approved; and (iii) the expansion of our understanding of how Acthar works in
       the human body (pharmacology), and ultimately, its mechanism(s) of action in the
       disease states for which it is currently used, or may be used in the future. We
       conduct research internally and also through contracts with third parties.

       We are currently conducting on-label Phase 4 clinical trials in Nephrotic
       Syndrome and Systemic Lupus Erythematosus. We are currently conducting
       Phase 2 clinical trials in Diabetic Nephropathy, Amyotrophic Lateral Sclerosis
                                               27
             Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 28 of 105



       and Acute Respiratory Distress Syndrome to explore the possibility of pursuing
       FDA approval for indications not currently on the Acthar label. We continue to
       conduct non-clinical and clinical pharmacology studies to expand our
       understanding of Acthar and its mechanism of action(s).

       We also provide financial grants to support independent academic research such
       as investigator initiated studies. In 2013, we provided $3. 2 million in financial
       grants to support investigator initiated studies.

       We have also initiated a research and development program for Synacthen Depot.
       Novartis has the right to terminate the license allowing us to develop, market,
       manufacture, distribute, sell and commercialize Synacthen and Synacthen Depot
       in the United States under certain circumstances, including if we fail within time
       periods set forth in the License Agreement to achieve certain development
       milestones related to (i) conducting a pre-IND meeting with the United States
       Food and Drug Administration, or FDA, with respect to Synacthen or Synacthen
       Depot, (ii) commencing a clinical trial with respect to Synacthen or Synacthen
       Depot and (iii) submitting a new drug application, or NDA, for Synacthen or
       Synacthen Depot for filing with the FDA.

       We anticipate that these research and development efforts will result in a
       significant increase in research and development expense in 2014 and future
       years.

       During the years ended December 31, 2013, 2012 and 2011, we spent $59.7
       million, $34.3 million and $16.8 million, respectively, on research and
       development activities.

       75.     When Questcor acquired the rights to develop and market Synacthen and

Synacthen Depot in the United States from Novartis, Questcor’s Chief Scientific Officer was

quoted in Questcor’s June 11, 2013 press release, as saying that the company “intends to develop

and seek FDA approval for Synacthen” and was “committed to developing this product not

only in conditions different than Acthar but also in conditions where Synacthen would

potentially provide a clinical benefit over Acthar.” But during the nearly four years since

Mallinckrodt’s acquisition of Questcor, as described more fully below, Mallinckrodt has

developed to the point of seeking FDA approval only for a single treatment indication for

Synacthen (which Mallinckrodt would later refer to as MNK-1411), and that is for the treatment

                                              28
              Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 29 of 105



of a condition (Duchene Muscular Dystrophy or “DMD”), which is not one of the 19 FDA-

approved treatment indications for Mallinckrodt’s Acthar product.

        C.      Mallinckrodt’s Actions Relating to Acthar and Synacthen

        76.     An October 14, 2014 Mallinckrodt Pharmaceuticals Investor Briefing set forth the

19 diseases and/or conditions for which the FDA had approved Acthar, and further identified the

9 indications for which Acthar was then being marketed.5 The nine approved and marketed uses

were:

        Neurology

                Infantile Spasms
                Multiple sclerosis flares in adults

        Rheumatology

        Multiple organs (including muscle and joint):
               Lupus
               Dermatomyositis/polymositis
               Rheumatoid arthritis flares
               Psoriatic arthritis flares

        77.     The same list was included in an Investor Briefing dated December 7, 2015,6

which also included a chart titled “Acthar has low patient penetration across majority of

approved indications.” The chart indicated approximately a 50% share of addressable patients

treated by Acthar for infantile spasms; approximately an 18% share of addressable patients

treated by Acthar for multiple sclerosis; approximately 6% and 4% shares of addressable patients

treated for proteinuria remissions in idiopathic nephrotic syndrome and rheumatoid arthritis




5
  Accessible at: http://phx.corporateir.net/External.File?item=UGFyZW50SUQ9NTU3MTQ5fE
NoaWxkSUQ9MjU0NzI2fFR5cGU9MQ== &t=1 at 15.
6
  Accessible at: http://phx.corporateir.net/External.File?item=UGFyZW50SUQ9NjA0Nzk5
fENoaWxkSUQ9MzE1OTAyfFR5cGU9MQ==& t=1.
                                                  29
              Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 30 of 105



(adjuvant therapy), respectively; and lower amounts for the five other approved and marketed

uses.

        78.     In the years after Mallinckrodt’s acquisition of Questcor, Mallinckrodt reported

increasing net sales of Acthar. During the six-week period from August 14, 2014 through

September 26, 2014 (the end of Mallinckrodt’s fiscal year 2014), its net sales of Acthar were

$122. 9 million. Mallinckrodt FY 2014 Form 10-K, at 54-55. During fiscal year 2015, ended

September 25, 2015, its net sales of Acthar were $1.0373 billion (compared to total revenues of

$3.4569 billion). Mallinckrodt FY 2015 Form 10-K, at 54, 55. And during fiscal year 2016,

ended September 30, 2016, its net sales of Acthar were $1.1604 billion (compared to total

revenues of $3.3808 billion). Mallinckrodt FY 2016 Form 10-K, at 43, 51.

        79.     At the close of its FY 2014, the Company attributed the increases in its operating

income and margins “primarily due to higher net sales of high margin products, such as Acthar

and Ofirmev …,” among other reasons. Mallinckrodt FY 2014 Form 10-K, at 56. It similarly

attributed the increases in the Company’s operating income and margins in fiscal year 2015

primarily to the timing of its acquisitions of Acthar, Ofirmev and Inomax. Mallinckrodt FY

2015 Form 10-K, at 56.7

        80.     The Company changed its fiscal year to a calendar year so that fiscal year 2017

would be from December 31, 2016 to December 29, 2017. In announcements relating to the

results of the first quarter ended March 31, 2017 and second quarter ended June 30, 2017, the

Company reported that its net Acthar sales increased by roughly 9% and 7%, respectively, over


7
  While in neither year did the Company quantify the proportion of operating income stemming
from Acthar, it was clearly a very significant product for the Company and its financial and
operating results, especially in light of the cessation of the Company’s Global Medical Imaging
business by June 2015 and the declines in its Generics and Active Pharmaceutical Ingredients
(API) business segment that took place after the quarter ended March 27, 2015.
                                                30
             Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 31 of 105



net Acthar sales in the first two calendar quarters in 2016. However, when the Company

announced its third quarter 2017 results, the reported net Acthar sales were below the net sales in

the same quarter in 2016. In particular, on November 7, 2017, the Company reported that its net

sales of Acthar in the third quarter ended September 29, 2017 were $308.7 million, down by

5.6% from net sales of $327.0 million during the same quarter in 2016. Mallinckrodt 3Q2017

Form 10-Q, at 35.

       81.     And ultimately, for the full fiscal year 2017, the Company reported net sales of

Acthar of $1.1951 billion, an increase of only $34.7 million, or 3.0%, over net sales of Acthar

over the same four quarters in 2016. Mallinckrodt 2017 Form 10-K, at 50. The Company

reported total revenues for the year of $3.2216 billion. Mallinckrodt 2017 Form 10-K, at 46.

Although the Company proceeded not to quantify the proportion of operating income stemming

from Acthar sales in 2017, Acthar clearly remained a very significant product for the Company.

       82.     The Company’s reported quarterly net sales of Acthar compared to the

Company’s total reported revenues, over the period from the quarter ended June 27, 2014

through March 30, 2018, are shown below:




                                                31
             Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 32 of 105




       83.     As shown in the chart, the net sales figures for Acthar suffered declines starting in

the third quarter 2017 and continuing through the first quarter 2018 when compared to the same

quarters in the prior years. In particular, net Acthar sales of $327.0 million in the third quarter

2016 fell to $308.7 million in the third quarter 2017 (a 5.6% decline); net Acthar sales of $325.4

million in the fourth quarter 2016 fell to $295.2 million in the fourth quarter 2017 (a 9.3%

decline); and net Acthar sales of $271.8 million in the first quarter 2017 fell to $243.8 million in
                                                32
           Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 33 of 105



the first quarter 2018 (a 10.3% decline). At the start of this period, in early September 2017, a

seminal report was published in the Journal of the American Medical Association (“JAMA”) that

included a detailed study of prescription trends from 2011 through 2015 relating to Acthar, based

in large part on the Medicare reimbursement payment data that was first made available on

November 14, 2016.8 Among other things, the study showed, with detailed charts, that relatively

few prescribers (in 2014, 0.2% of prescribers) in the fields of rheumatology, neurology and

nephrology accounted for much of Medicare’s spending for Acthar (in 2014, 42% of all Acthar

spending). It similarly found that despite comprising fewer than 0.5% of their total prescriptions,

Acthar accounted for more than one-third of total Medicare Part D expenditures for the frequent

specialist prescribers.   Moreover, in reply to the letter from Mallinckrodt’s Chief Medical

Officer, the study authors wrote that while Acthar has been found to be effective for infantile

spasms and to treat relapses of multiple sclerosis, “the remainder of studies, as summarized in

the review cited by Dr. Otulana, are of low quality, consisting primarily of case series, small

uncontrolled single-arm studies, and several observational studies of health care utilization.” Due

to this, they wrote: “Given the preponderance of small and uncontrolled singlearm studies, we


8
  See Daniel M. Hartung, PharmD, MPH, et al., “Trends and Characteristics of US Medicare
Spending on Repository Corticotrophin,” JAMA Internal Medicine, Vol. 177, No. 11, at 1680
(Nov. 2017); accessible at: https://jamanetwork.com/journals/jamainternalmedicine/articleabstrac
t/2653010?redirect=true.

The study was cited in Linette Lopez, “The most respected medical journal in the US just
eviscerated a drug that’s cost taxpayers over $1 billion,” Business Insider (Sept. 12, 2017);
accessible        at:         https://finance.yahoo.com/news/most-respected-medical-journal-us-
142905444.html. Dr. Tunde Otulana, Mallinckrodt’s Chief Medical Officer, wrote a response,
“Uses of H.P. Acthar Gel in the Clinical Setting,” that was published in JAMA Internal
Medicine, Vol. 128, No. 4, at 583 (April 2018), that also included a reply by Hartung, et al.
When the initial study was published, JAMA Internal Medicine also published an editorial,
“New (Very High) Prices on Old Drugs,” JAMA Internal Medicine, Vol. 177, No. 11, at 1568
(Nov. 2017); accessible at: https://jamanetwork.com/journals/jamainternalmedicine/articleabstrac
t/2653007?widget=personalizedcontent&previousarticle=2653010&redirect=true.
                                                33
             Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 34 of 105



have serious doubts that these studies will provide scientific evidence sufficient to justify use of

Acthar at its current price.”

       84.     During the third quarter 2017 earnings call held on November 7, 2017,9

Defendant Trudeau said that “Acthar sales growth slowed in the quarter impacted by both the

comparison against 2016 with an additional selling week and a volume decline.” He attributed

the volume decline to the fact that “as the third quarter progressed, we saw an increasing number

of prescriptions going unfilled beyond the level we had seen previously,” which the Company

anticipated would take time to work through, leading to the expectation that fourth quarter 2017

Acthar net sales would also be down sequentially. And, in responding to one of the many

analyst questions concerning the Company’s Acthar sales, Trudeau admitted that Acthar

“continues to experience payer pressures” and “we expect those payer pressures to continue to

be more challenging. We expect payers to put more and more hurdles in front of patients

getting reimbursement. … The situation that we’re experiencing now is this combination of both

those payer pressures, plus additional the additional issue that we’re seeing with these patient

prescriptions going unfilled at this point.”

       85.     The payer pressures on Acthar sales was also discussed in ensuing quarterly

earnings calls. As previously anticipated, the Company confirmed on the fourth quarter 2017

earnings call that Acthar sales in the fourth quarter 2017 were down sequentially from those in

the fourth quarter 2016 for reasons similar to those stated on the November 7, 2017 call.

       86.     However, on the first quarter 2018 earnings call held on May 8, 2018,10 while

stating that the Company had “made headway in stabilizing Acthar payer access” and would


9
  Accessible at: https://www.nasdaq.com/aspx/calltranscript.aspx?StoryId=4121687&Title=
mallinckrodt-plc-mnk-q3-2017-results-earnings-call-transcript.
10
   Accessible at: https://www.nasdaq.com/aspx/calltranscript.aspx?StoryId=4171173&Title=ma
                                                34
             Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 35 of 105



“continue to recover from the residual Acthar patient withdrawal issues from last year,”

Defendant Trudeau admitted that there were continuing payer pressures experienced with Acthar

treatments, including when payers try to restrict the length of therapy for Acthar. Defendant

Harbaugh further admitted that the Company’s Acthar sales in the first quarter 2018 “were down

10% driven by lower volumes.”

       87.     Through its acquisition of the exclusive rights to develop, produce and market

Synacthen products in the United States, Questcor achieved – and Mallinckrodt later acquired – a

monopoly ACTH position for Acthar in the U.S. market.              The FTC Complaint against

Mallinckrodt and its Questcor division detailed the dramatic price increases that the companies

imposed for the price of Acthar, from $40 per vial in 2001 to over $34,000 per vial in 2017, an

85,000 percent increase, which were depicted graphically in Linette Lopez, “An Illinois city just

stepped into the war against big pharma over drug pricing,” Business Insider (Apr. 7, 2017).11




llinckrodt-plc-mnk-q1-2018-results-earnings-call-transcript.
11
   Accessible at: http://www.businessinsider.com/rockford-sues-mallinckrodt-over-acthar-price-
2017-4. A report titled “The problem with prescription drug prices” aired on 60 Minutes on May
6, 2018, which corroborates that although the bulk of the price increases for Acthar took place
before the merger of Questcor into Mallinckrodt, the Company has raised the price by about
$8,000 per vial since acquiring Questcor. Accessible at: https://www.cbsnews.com/news/the-
problem-with-prescription-drug-prices/. The 60 Minutes reporter asked Dr. Peter Bach, who
studies the cost and value of drugs at Memorial Sloan Kettering in New York, to look into
Acthar. Among other things, Dr. Bach observed that while Acthar is considered to be an
effective treatment for Infantile Spasms, there is no evidence that the FDA would consider
convincing as to its effectiveness for the diseases that seniors are taking it. He further observed
that many of the doctors who prescribed a lot of Acthar “also were getting money from the
company that makes Acthar, for speaking, for consulting, for running research studies for the
company, adding up to huge sums. And those doctors appear to be the ones who are most likely
to also prescribe Acthar.” Dr. Bach further stated: “They’re using a time-tested strategy, they
raise the price to a very high level and they concentrate their energies on a few doctors whom
they can get to prescribe the drug. And it works great for their revenue. It doesn’t help patients.
And in 2015, it added up to half-a-billion dollars of expenses for Medicare.”
                                                35
             Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 36 of 105




       88.     The FTC Complaint further stated that typically a course of Acthar treatment for

patients with infantile spasms requires multiple vials, costing over $100,000 for one course of

treatment. Acthar is one of the most expensive drugs on the market today and it is the single

most expensive drug reimbursed by both Medicare and Medicaid.

       89.     The FTC Complaint asserted that Questcor had illegally purchased the U.S. rights

to develop a competing drug, Synacthen Depot, and that the acquisition “stifled competition by

preventing any other company from using the Synacthen assets to develop a synthetic ACTH

drug, preserving Questcor’s monopoly and allowing it to maintain extremely high prices for

Acthar.” In announcing the settlement, the FTC’s Chairwoman stated: “We charge that, to

maintain its monopoly pricing, it acquired the rights to its greatest competitive threat, a synthetic

version of Acthar, to forestall future competition. This is precisely the kind of conduct the

antitrust laws prohibit.” In addition to the $100 million payment, the FTC settlement also
                                                 36
                Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 37 of 105



required Mallinckrodt to grant a license to develop Synacthen to treat Infantile Spasms and

Nephrotic Syndrome – two of the primary uses for Acthar – to a licensee approved by the FTC.

          90.     In January 2007, Defiante, a subsidiary of Sigma-Tau, had acquired from Novartis

the rights to market and distribute Synacthen in 19 countries, primarily in Europe (Austria,

Belgium, France, Germany, Greece, Ireland, Italy, Luxembourg, Poland, Portugal, Spain,

Netherlands, United Kingdom, Finland, Sweden, Denmark and Norway) and also in China and

India. Sigma-Tau describes the uses of Synacthen on its website12, as follows:

                  Synacthen contains the active ingredient tetracosactide. Synacthen can be
                  used diagnostically to assess adrenal function and also, in some cases, as a
                  treatment for certain diseases of the central nervous system.
                  Synacthen is a synthetic protein (polypeptide) which mimics the body’s
                  natural adrenocorticotropic hormone (also known as corticotropin or
                  ACTH).
                  Synacthen is primarily used for diagnostic purposes to investigate adrenal
                  function in cases where the adrenal cortex is suspected not to be
                  functioning properly. In some circumstances, Synacthen can also be used
                  for the treatment of certain diseases of the central nervous system, namely
                  acute exacerbation of multiple sclerosis (MS) and West syndrome, where
                  infants with an abnormal EEG scan (a recording of brain activity) suffer
                  spasms (episodes of involuntary muscular contractions).
Notably, Mallinckrodt’s two marketed uses of Acthar for neurologic treatments – “multiple

sclerosis flares in adults” and “infantile spasms” – match the uses that Sigma-Tau identifies on

its website for Synacthen.

          91.     The following chart summarizes the uses for which Synacthen has been approved

in certain other countries, indicating by use of an asterisk (*) the countries in which Mallinckrodt

owns the marketing rights. The chart confirms the FTC’s charge that “[i]n Europe, Canada, and

other parts of the world, doctors treat patients suffering from [the] same conditions [treated with

Acthar] with Synacthen Depot.” FTC Complaint ¶ 6.

12
     Accessible at: http://sigma-tau.nl/en/geneesmiddelen//#synacthen.
                                                   37
Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 38 of 105




                            38
Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 39 of 105




                            39
             Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 40 of 105




       92.     From the time of its acquisition of Questcor in August 2014 to the present,

Mallinckrodt has not sought FDA approval for any of the uses for which Synacthen was

approved in these and other countries outside the United States. Instead, on or about June 14,

2016 – nearly two years after Mallinckrodt completed its acquisition of Questcor – Mallinckrodt

submitted an Investigational New Drug (IND) application for Synacthen Depot to the FDA,

seeking to pursue licensure of Synacthen solely for the treatment of DMD.

       93.     Several months later, by early September 2016, the FDA granted “Fast Track”

designation to Mallinckrodt’s IND application for Synacthen Depot to treat DMD.             In


                                              40
             Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 41 of 105



commenting on the designation, Mallinckrodt’s Chief Scientific Officer (“CSO”), Dr. Steven

Romano, said the Company was pleased with the FDA’s determination and was “happy to report

the first patients have been dosed in the initial Phase 1 trial.” As of today, however, the use of

Synacthen Depot for the treatment of DMD has not been approved, and the Company had not

completed the required testing that would permit for any such approval.             Instead, in a

Mallinckrodt Pharmaceuticals: Investor Briefing 2017 Presentation, Research and Development,

which was presented by Dr.       Romano on October 4, 2017,13 MNK-1411 (the Company’s

designation for Synacthen) is mentioned only in the “Development Pipeline” and the only

indication for which MNK-1411 is being evaluated is for patients with DMD.

       94.     DMD is not one of the indications for which Acthar has been approved by the

FDA for treatment, and not one of the indications for which the Company has marketed Acthar

in the United States. Thus, even if Mallinckrodt becomes successful in attaining approval of its

IND application for Synacthen to treat DMD at some point in the future, that would not create

any competition whatsoever with the Company’s sales of Acthar for any of the uses for which

Mallinckrodt has marketed Acthar in the United States.

       95.     The Company’s failure to seek to develop Synacthen for use in the United States

to compete against Acthar – as Questcor’s CSO had stated was at least part of that company’s

intent at the time Questcor purchased the rights to develop Synacthen in the U.S. market from

Novartis in June 2013 – and potentially cause a decrease in the price of Acthar for any of its

primary uses, corroborates the antitrust violations charged by the FTC and was likely the reason

why the FTC required Mallinckrodt to enter into a sub-licensing agreement so that another



13
 Accessible at: http://phx.corporateir.net/External.File?item=UGFyZW50SUQ9NjgwMzE3fE
NoaWxkSUQ9Mzg5NzA0fFR5cGU9MQ==& t=1.
                                               41
             Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 42 of 105



company would have the ability to develop Synacthen for at least two of its primary marketed

treatments – Infantile Spasms and Nephrotic Syndrome.

       96.     The Company’s decision not to develop Synacthen for any use that might

compete with Acthar is supported by the Company’s former Vice President of Global

Pharmacovigilance (“Former VP”), who served in that position at Mallinckrodt from early

January 2013 until September 30, 2016. Former VP also served as the Acting Chief Medical

Officer from approximately mid-2015 to early 2016. Former VP initially reported to Tom Smith,

who was Mallinckrodt’s Chief Medical Officer until he left the Company. Former VP thereafter

reported primarily to the Company’s Chief Scientific Officers, Mario Saltarelli until he left the

Company and then Steven Romano, but during the latter portion of Former VP’s tenure with the

Company, he reported to a new Chief Medical Officer, Tunde Otulana.

       97.     Former VP noted that Synacthen was acquired from Novartis by Questcor, and

was on the market in over 50 countries around the world, other than the United States, when

Questcor was acquired by Mallinckrodt. While the outside word was that Mallinckrodt was

going to develop Synacthen for some indication, Former VP believes, based on the positions held

with the Company and interactions with others at the Company, that Mallinckrodt’s management

“were careful quite honestly because they didn’t want it to compete with Acthar because the

pricing scheme (for Synacthen) was considerably different.” At the time, Synacthen was

basically a drug costing only a few dollars a vial in the overseas market for indications that

overlapped with Acthar. Former VP believes that had another company developed Synacthen for

the U.S. market, it would have become widely used given its very similar amino acid sequences

and because it would have been much cheaper than Acthar. That is why, according to Former



                                               42
             Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 43 of 105



VP, Mallinckrodt management “dragged their feet. They were going to discuss it to death. They

put very little effort into developing Synacthen in the US.”

       98.     Former VP further noted that Mallinckrodt had to submit dossiers by certain

timeframes in order to satisfy the license agreement with Novartis, otherwise Novartis would

have had the option to take the drug back. That led to Mallinckrodt submitting an IND but,

according to Former VP, there were few resources attached to it. Former VP noted “[s]o, to call

it an active development program would have been a gross overstatement.”

       99.     Former VP further related that while Synacthen development was not a priority at

Mallinckrodt, any decisions on its development ultimately resided with the Mallinckrodt

Executive Committee.      The Chief Scientific Officer would have had significant input into

Synacthen development, and CEO Trudeau would have to approve any such plan. While Former

VP and others (including Mario Saltarelli, the CSO for a while; the Head of Project

Management; the Head of Research and Development; and various clinical team leaders) had

meetings regarding Synacthen, ultimately Mallinckrodt devised a game plan and settled on an

indication for DMD in order to submit an IND (Investigational New Drug Application) and then

put together a program to hit a timeline to submit the NDA (New Drug Application) for FDA

approval.

       100.    Former VP also stated that the scientific group made presentations about the

Synacthen development plans to the Mallinckrodt Executive Committee. But overall, there were

not very many resources, i.e., people devoted to Synacthen development, especially compared to

Acthar. Thus, in Former VP’s view, given that Synacthen was a drug with lots of approval in

many places and a long history overseas, Mallinckrodt should have been able to put together a

program tailored to the FDA for submission within a few months of an IND for several

                                                43
           Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 44 of 105



indications – in addition to the one that was submitted for DMD – including some that may have

competed with Acthar, rather than waiting for nearly two years to file the IND for the one

indication (DMD) with the FDA.

       101.    The Company’s intent to maintain its unlawful monopoly of ACTH medications

is further borne out by Mallinckrodt’s June 2015 settlement of allegations made in a complaint

filed against Questcor by another one of the bidders for the Synacthen license. Retrophin, Inc.

v. Questcor Pharmaceuticals, Inc., No. 8:14-cv-00026-JLS-JPR (C.D. Cal., filed Jan. 7, 2014)

(the “Retrophin Complaint”). The Retrophin Complaint alleged that in June 2013, Retrophin

was poised to challenge Questcor’s ACTH Acthar monopoly, stating that it (a) had negotiated an

agreement to purchase the U.S. rights to Synacthen from Novartis, (b) “planned to obtain FDA

approval to sell Synacthen in the US to and compete head to head against Questor [sic] by

undercutting Questcor’s price for Acthar,” and (c) was scheduled to sign a purchase agreement

on June 11, 2013. Retrophin Complaint ¶¶ 4-6. However, as alleged by Retrophin, Questcor

swooped in at the last minute and acquired the rights to Synacthen.

       102.    Rather than seeking to challenge Retrophin’s allegations on the merits, on June 4,

2015, pursuant to a Confidential Settlement Agreement and Release, Mallinckrodt, through

Questcor Pharmaceuticals, which was now a wholly-owned and operated subsidiary, agreed to

settle the litigation. Under the terms of the Settlement Agreement, Questcor paid Retrophin

$15.5 million in exchange for a release of all claims by Retrophin.14

       103.    While not competing in any way with any of the treatment indications for which

Acthar is sold in the United States, Mallinckrodt’s development of Synacthen Depot to treat

DMD would, however, appear to meet certain terms in the License Agreement that Questcor

14
  See https://www.sec.gov/Archives/edgar/data/1438533/000119312515215608/d93850
4d8k.htm.
                                                44
           Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 45 of 105



entered into with Novartis in 2013, when it purchased the rights to develop and market

Synacthen Depot in the U.S. market. Under the License Agreement, which has an Effective Date

of June 11, 2013, Questcor was required to pay Novartis $60 million on the Effective Date, and

to pay $25 million on each of the first three anniversary dates (i.e., June 11, 2014, 2015 and

2016), which payments were required to be secured by a $75 million bank guarantee. These

required payments, totaling $135 million, were required to be paid even if the License

Agreement was later voided for antitrust reasons.

       104.   The License Agreement further provided – without disclosing the amounts of

payments in the published version of the Agreement – that Questcor was required to make

“milestone payments” upon each subsequent anniversary of the Effective Date until such time

that Questcor (or any affiliate or sub-licensee) secured the first approval of a product derived

from Synacthen Depot from the FDA for use in the United States, when it would owe other types

of royalty payments. As stated in the License Agreement, Novartis could require a termination

of the License Agreement if Questcor did not make any of the required payments and did not

reach a set of “Development Milestones” with certain time periods that are not specified in the

public version of the Agreement.

       105.   The development to the filing of this Complaint – nearly four years after

Mallinckrodt acquired the rights to develop Synacthen Depot in the U.S. market – of just one

application to the FDA for a treatment that would not compete with Mallinckrodt’s sales of

Acthar was a major part of Mallinckrodt’s unlawful, yet undisclosed scheme to violate U.S.

antitrust laws and charge increasing prices for Acthar. The Company developed Synacthen

Depot for only the treatment of DMD so that it would have no effect whatsoever on

Mallinckrodt’s ability to charge highly excessive prices for its primary Acthar treatment

                                               45
            Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 46 of 105



indications – Infantile Spasms, Nephritic Syndrome, Rheumatology Related Conditions, and

Multiple Sclerosis. Indeed, it is telling that when the FTC agreed to settle its antitrust claims

against Mallinckrodt, it required the Company to license to another company the rights to

develop Synacthen Depot for the treatment of Infantile Spasms and Nephritic Syndrome, two of

its primary sales indications.

       106.    Pursuant to the FTC settlement, on or about July 16, 2017, Mallinckrodt granted a

license to West Pharmaceuticals, giving it the right to develop and pursue possible FDA approval

of Synacthen Depot in two indications – Infantile Spasms (IS) and Nephritic Syndrome (NS),

along with the exclusive rights to the Synacthen trademark in the U.S. Under its license

agreement with West, Mallinckrodt retained the rights to continue manufacturing and marketing

Synacthen to patients in other countries around the world, where the Company already has rights,

and it can also develop the product for all other indications in the United States. To date, the

Company has not sought FDA approval for any other uses of Synacthen.

       D.      Defendants’ False and Misleading Statements and Omissions

       107.    Defendants made false and misleading statements and omitted to disclose facts

that made their statements materially misleading, about the Company’s use of its monopolistic

position with regard to Acthar throughout the Relevant Period.          The misstatements and

omissions, which are identified below along with the reasons why the statements and omissions

misled the market, related to two primary issues: (1) the Company’s competitive position and

business plans with regard to Acthar; and (2) the extent of Acthar sales that were reimbursed by

Medicare and Medicaid.

               1.      Defendants’ Statements Concerning the Company’s Competitive
                       Position and Business Plans With Respect to Acthar Were False and
                       Materially Misleading

                                               46
           Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 47 of 105



       108.    The Relevant Period begins on July 14, 2014, when Questcor and Mallinckrodt

each filed a joint definitive proxy statement with the SEC in anticipation of the shareholder votes

on the pending merger. In no portion of the joint proxy statement did either company disclose

the existence of the FTC investigation or subpoena received by Questcor from the FTC on June

11, 2014. Rather, the definitive proxies listed a litany of risk factors for Mallinckrodt concerning

Acthar and Synacthen, as follows:

       These factors include risks and uncertainties related to, among other things:
       general economic conditions and conditions affecting the industries in which
       Mallinckrodt and Questcor operate; the commercial success of Mallinckrodt’s and
       Questcor’s products, including H.P. Acthar® Gel; Mallinckrodt’s and Questcor’s
       ability to protect intellectual property rights; the parties’ ability to satisfy the
       merger agreement conditions and consummate the merger on the anticipated
       timeline or at all; the availability of financing, including the financing
       contemplated by the debt commitment letter, on anticipated terms or at all;
       Mallinckrodt’s ability to successfully integrate Questcor’s operations and
       employees with Mallinckrodt’s existing business; the ability to realize anticipated
       growth, synergies and cost savings; Questcor’s performance and maintenance of
       important business relationships; the lack of patent protection for Acthar, and the
       possible FDA approval and market introduction of additional competitive
       products; Questcor’s reliance on Acthar for substantially all of its net sales and
       profits; Questcor’s ability to continue to generate revenue from sales of Acthar to
       treat on-label indications associated with nephrotic syndrome, multiple sclerosis,
       infantile spasms or rheumatology-related conditions, and Questcor’s ability to
       develop other therapeutic uses for Acthar; volatility in Questcor’s Acthar
       shipments, estimated channel inventory, and end-user demand; an increase in the
       proportion of Questcor’s Acthar unit sales comprised of Medicaid-eligible
       patients and government entities; Questcor’s research and development risks,
       including risks associated with Questcor’s work in the areas of nephrotic
       syndrome and Lupus, and Questcor’s efforts to develop and obtain FDA approval
       of Synacthen Depot; Mallinckrodt’s ability to receive procurement and production
       quotas granted by the DEA; Mallinckrodt’s ability to obtain and/or timely
       transport molybdenum-99 to Mallinckrodt’s technetium-99m generator
       production facilities; customer concentration; cost-containment efforts of
       customers, purchasing groups, third-party payors and governmental organizations;
       Mallinckrodt’s ability to successfully develop or commercialize new products;
       competition; Mallinckrodt’s ability to achieve anticipated benefits of price
       increases; Mallinckrodt’s ability to integrate acquisitions of technology, products
       and businesses generally; product liability losses and other litigation liability; the
       reimbursement practices of a small number of large public or private issuers;
       complex reporting and payment obligations under healthcare rebate programs;
                                                47
           Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 48 of 105



       changes in laws and regulations; conducting business internationally; foreign
       exchange rates; material health, safety and environmental liabilities; litigation and
       violations; information technology infrastructure; and restructuring activities.

       109.    The statements referenced above were materially false and/or misleading because

they misrepresented and failed to disclose material adverse facts relating to Mallinckrodt’s future

business prospects and operations which were then known to Defendants and/or recklessly

disregarded by them. Specifically, Defendants failed to disclose that Acthar’s financial viability

was largely dependent upon the continuation of monopolistic and anticompetitive actions that

Mallinckrodt intended to take, which were aimed at preventing a synthetic version of ACTH

from entering the U.S. market, including specifically that Mallinckrodt did not intend to develop

Synacthen for any uses that might compete with Acthar sales.

       110.    The statements referenced above were also materially false and/or misleading

because Defendants failed to disclose that on June 11, 2014, approximately two months before

the scheduled shareholder votes on the merger and one month prior to the issuance of the joint

proxy statement, Questcor had received a subpoena and Civil Investigative Demand (“CID”)

from the FTC, seeking documentary materials and information pertaining to an FTC

investigation into whether Questcor’s acquisition of certain rights to develop, market,

manufacture, distribute, sell and commercialize Synacthen from Novartis violates the antitrust

laws. Questcor was clearly aware of the subpoena and CID from the FTC. It was sent to

Questcor and the company received it.

       111.    As for Mallinckrodt, it claimed in the joint proxy statement that its board of

directors, after consultation with the Company’s “management, legal advisors, financial

advisors and other representatives,” considered many factors in making its determination that

the Merger Agreement and other transactions contemplated by the Agreement were fair to and in

                                                48
           Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 49 of 105



the best interests of Mallinckrodt and its shareholders.      Joint Proxy Statement at 105-106.

Mallinckrodt’s board further indicated that its recommendation to shareholders was based on

Strategic and Financial Considerations, the Merger Agreement, Implied Ownership, the Opinion

of its Financial Advisor, the Recommendation by Mallinckrodt Management, Governance,

Familiarity with the Industry and Businesses, and Due Diligence. On the latter point, the Joint

Proxy Statement (page 107) cited to the scope of the Due Diligence that had been conducted as a

reason for the merger recommendation, as follows:

       The scope of the due diligence investigation of Questcor conducted by
       Mallinckrodt management and outside advisors and consultants (which included
       in-depth reviews of organizational, operational, financial, commercial,
       regulatory, legal, employee and other matters), and the results of that
       investigation.

       112.      Indeed,   even   after   the   Mallinckrodt-Questcor   merger   was   completed,

Mallinckrodt’s management continued to tout the due diligence it had performed in advance of

presenting the proposed merger with Questcor to Mallinckrodt shareholders. On September 8,

2014, in response to an analyst question, Defendant O’Neill, then-President of Mallinckrodt’s

Autoimmune and Rare Diseases operations, whose jurisdiction included Acthar, stated that the

Company had conducted “across the board” due diligence regarding Questcor and Acthar, “from

the way the product is manufactured, to the way the product is sold, to the way the product is

actually positioned for reimbursement.” Thus, it is inconceivable that Defendants were not aware

that the FTC had already started an investigation into whether Questcor’s acquisition of certain

rights to develop, market, manufacture, distribute, sell and commercialize Synacthen from

Novartis violated the antitrust laws, which also would have put Mallinckrodt on notice that its

actions with respect to the development of Synacthen would be the subject of the on-going

investigation.

                                                  49
           Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 50 of 105



       113.    Nonetheless, Defendants failed to disclose in the joint proxy statement, or at any

other time prior to the consummation of the merger, the fact that the FTC had issued a subpoena

and CID for documents and commenced an investigation into these subjects. As Gretchen

Morgenson later wrote in a column in the New York Times after the FTC settlement was

announced: “as Mallinckrodt shareholders weighed whether to approve the deal [with Questcor],

they received company filings that detailed the risks in the acquisition. Nowhere did the FTC

subpoena come up – it was the proverbial dog that did not bark.” In fact, the pendency of the

FTC’s investigation went undisclosed for another five and one-half months, even though in the

interim Mallinckrodt filed one quarterly Form 10-Q, and nine (9) separate Form 8-K reports.

       114.    The definitive proxy statement was also false and misleading because, while the

companies noted “Questcor’s performance and maintenance of important business relationships”

and “Questcor’s efforts to develop and obtain FDA approval of Synacthen Depot” constituted

potential risks facing Questcor, in the spring of 2014, which was before the joint proxy statement

was issued, the sole worldwide manufacturer of Synacthen and Synacthen Depot had informed

Questcor that it would cease manufacturing the product in April 2016, due to a planned

decommissioning of its sole production site, which would require Questcor and Mallinckrodt to

identify and initiate production with a new manufacturer.

       115.    This fact came to light only after Mallinckrodt was heavily criticized for engaging

in alleged price gouging in Canada when, starting in early 2015, Mallinckrodt increased the price

of Synacthen products it was selling in Canada. In particular, in January or February 2015 –

approximately six months after the Questcor was merged into Mallinckrodt – the Company

raised the price of Synacthen Depot (Cosyntropin) in Canada from C$33.66 per vial to C$801.19

per vial. As a result, the cost of the required six-week treatment for Infantile Spasms (also called

                                                50
             Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 51 of 105



West Syndrome) “skyrocketed from about C$750 to almost C$17,000.”15 The September 24,

2015 article in Epilepsy Ontario further reported that the most effective treatment for Infantile

Spasms in Canada is Synacthen Depot (Cosyntropin), and that without prompt and effective

treatment, an infant will develop severe neurological and cognitive impairments. Dr. Carter

Snead, a pediatric neurologist, was quoted in the article as saying that the 2,000 percent price

increase on a medication to treat Infantile Spasms was “predatory behavior” and that

Mallinckrodt had done “absolutely nothing to justify this huge price increase.”

          116.   Other articles followed. An article by Rebecca Robbins, entitled “How a price

hike for a drug for infants with epilepsy drove an uproar,” was published by Stat News on

November 17, 2015.16 The article stated that others had also written about the 2,000 percent price


15
   See Deron Hamel, “2,000% price hike on infantile spasms medication ‘predatory behaviour’:
Neurologist,” Epilepsy Ontario (Sept. 24, 2015), accessible at: http://epilepsyontario.org/2000-
price-hikeon-infantile-spasms-medication-predatory-behaviour-neurologist/. The article reported
that Toronto’s Hospital for Sick Children and the Ontario Drug Benefit program negotiated the
price down to $680 per vial, so that the treatment course would cost $14,280 rather than the full
almost $17,000. Synacthen is distributed in Canada pursuant to a distribution agreement with
Valeo Pharma Inc., a Canadian specialty pharmaceutical company. See Valeo Pharma announces
Distribution Agreement for Synacthen® Depot in Canada (Feb. 19, 2015), accessible at:
https://www.prnewswire.com/news-releases/valeo-pharmaannounces-distribution-agreement-for-
synacthen-depot-in-canada-292687721.html.

Mallinckrodt also raised Synacthen prices in other countries in which the Company held the
exclusive rights to develop, market and sell Synacthen and Synacthen Depot. For example, Ruud
Helwig, General Manager, International, for Mallinckrodt ARD, wrote a letter dated January 19,
2015, to Alltherm Sa, concerning “Important changes” with respect to Synacthen and Synacthen
Depot products then being sold in Switzerland. “The objective of this letter is to inform you of
the need to increase the price of Synacthen & Synacthen Depot (a synthetic ACTH analogue) to
ensure the long-term supply of the product for patients in Switzerland.” Among other things, the
letter further stated that long-term supply concern arose from notice given by the current sole
worldwide manufacturer of Synacthen & Synacthen Depot, of its inability to supply the product
beyond April 2016 due to a planned manufacturing site decommission. The letter is accessible at:
http://sgedssed.ch/fileadmin/files/6_empfehlungen_fachpersonen/65_medikamenteninfos/Info_S
ynacthen_price_change_letter_2015.pdf.
16
     Accessible at: https://www.statnews.com/2015/11/17/infants-epilepsy-drug-price.
                                                51
             Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 52 of 105



hike for the Synacthen product that Mallinckrodt was then selling in the Canadian market. CBC

News issued a story on November 16, 2015, entitled “2,000% price hike for infant seizure drug

called ‘absurd.’”17 The written posting of the report noted that because the price hike was so

high, from C$33.05 per vial to C$680 per vial, Alberta Health officials delisted it in July 2015,

although it could still be provided on a case-by-case basis, and health officials in three other

provinces reported similar increases.

          117.   In an apparent response to these and the other articles, Mallinckrodt issued a news

release on November 17, 2015, which publicly disclosed the following:

          In the spring of 2014 the existing European manufacturer of the products
          announced it would cease manufacturing the product in April 2016 – requiring
          Mallinckrodt to identify and initiate production with a new manufacturer.

Thus, whereas Questcor and Mallinckrodt knew of the fact that the sole worldwide manufacturer

of Synacthen and Synacthen Depot would be unable to supply the product beyond April 2016

due to a planned manufacturing site decommission, they merely reported as a risk that Questcor

might not be able to maintain “important business relationships” and that it faced risks

surrounding its “efforts to develop and obtain FDA approval of Synacthen Depot.”

          118.   In addition to the false statements in and omissions from the joint proxy statement

issued July 14, 2014, Defendants made a number of false and materially misleading statements

regarding the Company’s competitive position pertaining to Acthar. On November 25, 2014,

Mallinckrodt filed its Annual Report on Form 10-K for the fiscal year ended September 26, 2014

with the SEC (the “2014 Form 10-K”). The 2014 Form 10-K represented that Acthar “has

limited direct competition due to the unique nature of the product” and that its “commercial

durability therefore relies partially upon product formulation trade secrets, confidentiality


17
     Accessible at: http://www.cbc.ca/news/health/infantile-seizures-drug-1.3318183.
                                                 52
           Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 53 of 105



agreements and trademark and copyright laws.” The same statements were included in the

Company’s 2015 Form 10-K and 2016 Form 10-K. The 2014 10-K also stated:

        [F]ollowing our acquisitions of Cadence and Questcor, both of which were
        completed in fiscal 2014, we expect that a small number of products, most
        notably Acthar and to a lesser extent, Ofirmev, will represent a significant
        percentage of our net sales. Our ability to maintain and increase net sales from
        these products depends on several factors, including:

           •   our ability to increase market demand for products through our own
               marketing and support of our sales force;
           •   our ability to implement and maintain pricing actions and continue to
               maintain or increase market demand for these products;
           •   our ability to maintain confidentiality of the proprietary know-how and
               trade secrets relating to Acthar;
           •   our ability to maintain and defend the patent protection and regulatory
               exclusivity of Ofirmev;
           •   our ability to continue to procure a supply of Acthar and Ofirmev from
               internal and third-party manufacturers in sufficient quantities and at
               acceptable quality and pricing levels in order to meet commercial demand;
           •   our ability to maintain fees and discounts payable to the wholesalers and
               distributors and group purchasing organizations, at commercially
               reasonable levels;
           •   whether the Federal Trade Commission (“FTC”), Department of Justice
               (“DOJ”) or third parties seek to challenge and are successful in
               challenging patents or patent-related settlement agreements or our sales
               and marketing practices;
           •   warnings or limitations that may be required to be added to FDA-approved
               labeling;
           •   the occurrence of adverse side effects related to or emergence of new
               information related to the therapeutic efficacy of these products, and any
               resulting product liability claims or product recalls; and
           •   our ability to achieve hospital formulary acceptance, and maintain
               reimbursement levels by third-party payors.

        Moreover, net sales of Acthar may also be materially impacted by the decrease in
        the relatively small number of prescriptions written for Acthar as compared to
        other products in our portfolio, given Acthar’s use in treating rare diseases. Any
        disruption in our ability to generate net sales from Acthar could have an adverse
        impact on our business, financial condition, results of operations and cash flows.

Substantially the same statements were made in the Company’s 2015 Form 10-K and 2016 Form

10-K.
                                               53
              Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 54 of 105



       119.     Defendants made similar statements about the lack of direct competition for

Acthar and its commercial durability at other points, as well, during the Relevant Period.

       120.     For instance, on October 6, 2015, Mallinckrodt held a conference call with

analysts and investors. During that call, Defendant Trudeau addressed the competitive situation

for Acthar:

       This seems like an appropriate moment for me to pause and say a few words about recent
       speculation related to the competitive environment for Acthar. When we evaluated the
       acquisition of Acthar, we dug deeply into the product, the market, existing therapies and
       the potential for additional competition. We concluded then that Acthar was a unique
       asset with significant durability and great potential for substantial long-term volume
       growth, and we continue to believe that now.

       It is important to remember a couple of things. One, Acthar is a very complex product, a
       naturally derived mixture of organic components. Though used in a fairly broad
       spectrum of indications, it’s prescribed for relatively small number of patients with
       complicated condition, and often prescribed only after other treatments have failed or
       patients can no longer tolerate other therapies. As such, many treatments and therapies
       already compete with Acthar.

       And two, competition will always exist for any product in any market, and Acthar is no
       different. Based on what we know about the unique characteristics of Acthar itself, the
       complicated regulatory environment for complex, naturallyderived products, and the
       lack of successful market precedent, we continue to believe that the path to market for
       a direct competitor to Acthar is uncertain and likely to be potentially long. The
       competitive situation will continue to evolve, but as it does, we will continue to focus on
       the leverage that we know will grow Acthar volume and concentrate on execution.

       The product is performing well, logging the highest net sales in Acthar’s history in the
       third quarter. And we believe there is still a tremendous opportunity to drive additional
       Acthar volume. Since today, roughly only about 3% of patients who could potentially
       benefit from Acthar now receive it.

       121.     When asked to comment during the same call on potential competition to Acthar,

Defendant Trudeau downplayed competition, adding, “I think what we can summarize is that

you can see it’s a very complex environment with tremendous barriers and lots of unknown

information. I think, again, just to reemphasize, we feel quite confident in the durability of

Acthar regardless of where the competitive environment evolves to.”
                                                54
           Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 55 of 105



       122.    The above statements were materially false and misleading because Acthar’s

“limited direct competition” and “commercial durability” was due to Mallinckrodt’s

anticompetitive practices in preventing Synacthen from reaching the U.S. market, particularly for

treating diseases for which Acthar was currently being prescribed, and Defendants knew or

recklessly disregarded the fact that Mallinckrodt had acted with the purpose and effect of

foreclosing competition in violation of the antitrust law, thereby continuing to increase the price

of Acthar, and these actions could not be sustained once challenged. Indeed, the Company did

not follow up on any indication for Synacthen other than for DMD – a use that would not in any

way compete with its Acthar franchise or any of its approved and marketed treatment indications

– despite that it was marketing and selling Synacthen in Canada and many other foreign

countries for the treatments identified in the chart above as well as for Infantile Spasms in

Canada, as identified above. The falsity of Defendants’ statements above is further demonstrated

by the fact that after Acthar sales declined in the third quarter 2017, the fourth quarter 2017 and

the first quarter 2018, compared to Acthar sales in the comparable quarters in the prior years,

Defendant Trudeau admitted during the earnings call held on May 8, 2018, that Acthar “has

competition on every single one of its indications today.”18

               2.     The Inadequate Disclosure of the Mallinckrodt’s Anticompetitive
                      Behavior and the Evidence It Was Aware of the Pending FTC
                      Litigation

       123.    With regard to all of the false and misleading statements identified above, the

Company’s belated disclosures that it was under investigation for violations of federal antitrust

law by the FTC in the 2014 Form 10-K, filed on November 25, 2014, and in subsequent Forms

10-K, did not constitute a sufficient disclosure to the market of the actions that Mallinckrodt was

18
 Accessible at: https://www.nasdaq.com/aspx/calltranscript.aspx?StoryId=4121687&Title=
mallinckrodt-plc-mnk-q3-2017-results-earnings-call-transcript.
                                                55
            Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 56 of 105



undertaking as a result of its intended suppression of any Synacthen-based competition for its

Acthar franchise. Instead, the 2014 Form 10-K merely stated:

        Questcor has received a subpoena and a Civil Investigative Demand (“CID”) from
        the Federal Trade Commission (“FTC”) seeking documentary materials and
        information regarding the FTC’s investigation into whether Questcor’s acquisition
        of certain rights to develop, market, manufacture, distribute, sell and
        commercialize Synacthen Depot from Novartis violates antitrust laws. We are in
        the process of responding to each of the subpoenas [from the DEA, FTC and U.S.
        Attorney’s Office] and the CID and we intend to cooperative fully in each such
        investigation.
Mallinckrodt 2014 Form 10-K, at 113.
        124.    The Company repeated this disclosure and statement of its intention to cooperate

in each of the Forms 10-K for the 2015 and 2016 fiscal years, adding that the Company was not

aware of any “existing or pending litigation” in connection with the investigations and that an

ultimate resolution “could have a material negative impact on its [Mallinckrodt’s] financial

condition, results of operations and cash flows.” See Mallinckrodt 2015 Form 10-K, at 118;

Mallinckrodt 2016 Form 10-K, at 112. This statement of a risk facing the Company was not

sufficient to provide the market with actual information about the Company’s intent and internal

actions, which are summarized above, and reflect Mallinckrodt’s continuing course of conduct in

violation of the antitrust laws.

        125.    Lastly, as alleged above, the FTC filed its Complaint and the Consent Decree with

the U.S. District Court for the District of Columbia on January 18, 2017. The Company’s

disclosures made on November 29, 2016, in the Company’s 2016 Form 10-K stated that the

Company was “not aware of any existing or pending litigation in connection with these

investigations.” But, by then, all indications are that the FTC would have informed Mallinckrodt

that it was pursuing the investigation onto a more serious level, and it is difficult to imagine that



                                                 56
              Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 57 of 105



the Company was not in negotiations with the FTC for at least several months in advance of the

January 18, 2017 FTC settlement and fine.

        126.    Among other things, the FTC’s litigation processes can be gleaned by reviewing

the FTC Operating Manual (“Operating Manual” or “FOM”).              The Operating Manual “is

distributed to all professional and designated support staff in the Commission, and covers most

Commission activities.” FOM Chapter One, §§ .1.1. & .1.2.1. FTC staff is advised “to follow

the procedures outlined in the OM [Operating Manual] unless circumstances warrant

modification.” FOM Chapter One, §.1.1.

        127.    The FOM provides that “[t]he proposed respondent will ordinarily be contacted

during the course of the investigation to obtain information and should be advised of the general

nature of the inquiry including the statutes and the alleged violations involved.” FOM Chapter

Three § .3.6.1. It further provides that “[o]rdinarily, the use of investigational subpoenas or

CIDs contemplates the convening of an investigational hearing with testimony under oath and

the preparation of a transcript.” FOM Chapter Three § .3.6.7.5.1. “For each type of CID, the

Commission is required to state in the demand, ‘the nature of the conduct constituting the alleged

violation … and the provisions of law applicable to such violation.’” FOM Chapter Three, §

.3.6.7.5.3.

        128.    The Operating Manual also specifically directs the procedures to be followed in

negotiations toward a consent resolution before the filing of a complaint.”It is the policy of the

Commission to make this opportunity [to settle] available during or upon completion of the

investigation … as well as during adjudication….” FOM Chapter Six, § .3. The Operating

Manual makes clear that FTC staff must have adequately developed the facts before offering a

consent agreement:

                                               57
          Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 58 of 105



       Before offering a consent agreement to a proposed respondent or submitting to the
       Commission at the conclusion of an investigation a settlement offer by proposed
       respondent, the staff should have developed sufficient facts to determine:

              (1) the nature and gravity of the practices and of any violations that result;
              (2) the appropriate complaint charges and order provisions; and to conclude;
              (3) whether the public would be adequately protected by the proposed relief.

FOM Chapter Six, § .3.1.

       129.   This means that before the FTC staff could have proposed or considered a consent

agreement with Mallinckrodt, it must have “developed sufficient facts” bearing on the

seriousness of the antitrust violation emanating from Questcor’s acquisition of the rights to

Synacthen and Mallinckrodt’s continuing anticompetitive practices in connection with Acthar.

       130.   The negotiation process also involves significant involvement by the professional

leadership of the FTC, and accompanying delay. The Operating Manual directs that “[i]t is

advisable for the staff not to engage in intensive consent order negotiations without prior

consultation with the Assistant Director, Regional Director, program advisor in BCP [Bureau of

Consumer Protection], or Assistant to the Director in BC [Bureau of Competition].” FOM,

Chapter Six, § .3.2. Further, when negotiations result in agreement between the staff and

proposed respondent, the proposed agreement is to be submitted to the Director of the Bureau of

Competition for review prior to execution. FOM Chapter Six, § .9.1.

       131.   Upon approval of the draft and execution of an agreement by staff, copies of the

signed consent agreement, supporting memorandum and other necessary material shall be

forwarded to the Director of the Bureau of Competition within 30 calendar days, and any action

by the Bureau of Competition on the staff recommendation shall be completed within 35

calendar days. FOM Chapter Six, § .9.1. The staff then forwards a consent agreement to the

Commission for review and approval. FOM Chapter 6, § .10.

                                              58
           Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 59 of 105



       132.     Accordingly, as a matter of FTC practice, the proposed complaint and consent

order would have been provided to Mallinckrodt, in draft and then in final form, well in advance

of the announcement of its public filing on January 18, 2017. The complaint and consent decree

include detailed findings, provide for a $100 million fine, and require that Mallinckrodt license

the rights to develop Synacthen for treatments of Infantile Spasms and Nephrotic Syndrome – all

of which must have been the subject of extensive negotiations between the FTC and

Mallinckrodt.

       133.     All of this indicates that Mallinckrodt and the Officer Defendants must have been

aware of this pending litigation by the time of the filing of the 2016 10-K report on November

29, 2016 – a mere fifty (50) days before the filing of the FTC complaint and the Company’s

consent decree. Thus, Defendants’ statement in the Form 10-K issued on November 29, 2016,

that the Company “is not aware of any existing or pending litigation in connection with these

investigations” was materially false and misleading for this reason.

                3.     The Company’s and Defendant Trudeau’s Statements Concerning the
                       Extent of Acthar Sales Reimbursed by Medicare and Medicaid Were
                       False and Materially Misleading

       134.     A significant metric viewed by investors in Mallinckrodt during the Relevant

Period related to the percentage of Acthar sales that were reimbursed by private insurers versus

the percentage of sales that were reimbursed by Medicare and Medicaid. Indeed, in the risk

section of the Joint Definitive Proxy for the proposed merger of Questcor into Mallinckrodt,

issued on July 14, 2014 – the start of the Relevant Period – the companies included, as a

potential risk factor, “an increase in the proportion of Questcor’s Acthar unit sales comprised of

Medicaid-eligible patients and government entities,” which indicated that having more



                                                59
           Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 60 of 105



government reimbursements compared to private insurer reimbursements would be detrimental

to the Company’s business and future prospects.

       135.   On October 6, 2015, Mallinckrodt held a guidance call with investors. During

that call, Jerry Gerberry of Leerink Partners asked the question: “What is your Acthar exposure

to Medicare?” In response, Defendant Trudeau asserted:

       So with regards to your question on Medicare exposure to Acthar, a couple of
       things. One, if we look at our overall business, the combined proportion of our
       business that goes through Medicare and Medicaid combined it’s about a
       quarter of our business, roughly. Acthar is maybe a little higher than that. But
       in general, our business is about a quarter.

       136.   This statement was false when made because it misrepresented in a material way

the total percentage of Acthar sales attributable to Medicare and Medicaid. As later revealed in

data released for the years 2011 through 2015 by the Centers for Medicare and Medicaid

Services (“CMS”) on November 14, 2016, and in a Citron Research Report of November 16,

2016, the Company’s Acthar sales that were reimbursed by Medicare and Medicaid was over

61% of the Company’s total 2015 Acthar sales, it had been over 60% of Questcor’s and the

Company’s total 2014 Acthar sales, and it had been over 45% of Questcor’s total 2013 Acthar

sales. Each of these figures was materially higher than the 25% and “maybe a little higher than

that” that Trudeau stated on October 6, 2015.

       137.   In 2015, prescription drug spending outpaced all other health care services and

drove up healthcare spending overall. There was growing controversy over the rising prices of

pharmaceuticals – the issue was the focus on Congressional hearings and a hot topic on the

presidential campaign trial.   In November 2015, U.S. Senators Susan Collins and Claire

McCaskill launched an investigation into companies that purchased medicines and then raised

prices to previously unforeseen levels. Valeant Pharmaceuticals and Turing Pharmaceuticals

                                                60
           Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 61 of 105



were two of the companies targeted by these senators. On December 9, 2015, a hearing on drug

prices was held in order to examine the huge spikes in drug prices that were seemingly unrelated

to the research and development costs of these drugs. At the same time, several U.S. House of

Representative members formed the Affordable Drug Pricing Taskforce to examine drug pricing.

       138.    Due to this outcry, the CMS created an online dashboard to increase transparency

and address affordability of prescription drugs. As stated on the CMS website: “The 2015

Medicare Drug Spending Dashboard is an online interactive tool that presents drug spending and

utilization information on certain Medicare Part B drugs (drugs administered in doctors’ offices

and other outpatient settings) and Medicare Part D drugs (drugs patients generally administer

themselves).” For the Dashboard, CMS identified 80 drugs using 2015 data that met certain

criteria: 40 drugs provided through the Medicare Prescription Drug Program under Part D and 40

drugs administered by physicians and other professionals in the Medicare fee-for-service

program under Part B. The following criteria was used to select the drugs: the drug is ranked in

the top 15 in terms of total program spending (for either Part B or D); the drug is associated with

a high annual per user spending based on claims data analyses (i.e., greater than $10,000 per

user) and is ranked in the top 15 by overall program spending (and not already selected by the

prior criterion); or the drug is ranked among the top 10 high unit cost increases (and not already

selected by the either of the prior two criteria). Acthar was one of the products that met the

CMS’s criteria and was included in the study.

       139.    The CMS data from this initiative was first presented publicly in data issued on

November 14, 2016.




                                                61
            Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 62 of 105



       140.    A chart titled Medicare Drug Spending 2011-2015 was included in the CMS

data,19 which showed dramatic increases for Medicare spending for Acthar from 2011 through

2015, as follows.




       141.    The CMS data relating to Acthar further showed that Total Annual Spending Per

User had increased over the same time period:




       142.    Thus, as reported in a Business Insider article of February 16, 2017, Medicare

spent an average of $162,371 on each Acthar patient in 2015.20 The article further reported that

while Medicare Part D spent over $5 billion on Acthar in 2015, which constituted reimbursement

for only 3,104 patients.

       143.    CMS similarly reported on Medicaid spending data.         There, a chart entitled

Medicaid Drug Spending 2011-2015 included the following information under the heading Total

Spending:
19
    The CMS data is accessible at: https://www.cms.gov/Research-Statistics-Data-and-
Systems/StatisticsTrends-and-Reports/Information-on-Prescription-Drugs/2015Medicare.html.
Data relating to Acthar appears on lines designated as H.P. Acthar. They appear, for instance, in
the tab for 2011 through 2015 drug spending by Medicaid in lines 163 through 168.
20
   Lopez, Linette, “We dug into the drug company Martin Shkreli sold out to the feds, and man is
it ugly,” Business Insider, Feb. 16, 2017 (accessible at: http://www.businessinsider.com/achtar-
drug-showsflaws-in-drug-pricing-payment-system-2017-2).
                                                62
          Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 63 of 105




       144.   Two days later, on November 16, 2016, the full extent of the Company’s reliance

on Medicare and Medicaid reimbursements for Acthar came to light when Citron published a

report accusing the Company and Defendant Trudeau of securities fraud in connection with

Trudeau’s representations – made during the Company’s October 6, 2015 conference call –

regarding the percentage of Acthar sales for which Mallinckrodt received Medicare and

Medicaid reimbursement.    The Citron Report utilized the recently released CMS data and

compared it with the Company’s reported sales of Acthar. Based on that analysis, and contrary

to Defendant Trudeau’s representation in October 2015 that Acthar sales attributed to Medicare

and Medicaid were “maybe a little higher” than 25% of the Company’s total Acthar sales, the

Citron Report presented that sales attributable to Medicare and Medicaid combined constituted

61% of Mallinckrodt’s overall sales. The report, which was captioned, “Mallinckrodt CEO

FRAUD exposed by the new Medicare Drug Dashboard,” began as follows:

       Mallinckrodt CEO Mark Trudeau has been caught red handed committing
       securities fraud -- exposed by none other than the newly released Medicare
       drugspending dashboard.

       This long-promised, just released public information database demonstrates that
       HP Acthar Gel is The Single Most Expensive Drug per Treatment as reimbursed
       by Medicare / Medicaid.

       145.   The Citron Report continued by noting that in response to “public outcry and

pressure to search for systemic reimbursement abusers” which, according to Citron, had reached

a tipping point in October 2015 with the collapse of Valeant Pharmaceuticals, the CMS had


                                             63
          Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 64 of 105



started to work on an online drug spending dashboard by December 2015 and the results had just

been made public earlier in the week. After quoting Trudeau’s statement of October 6, 2015

about the proportion of Mallinckrodt’s business “that goes through Medicare and Medicaid

combined,” the Citron Report stated:

       As we now learn, the concentration for Acthar paid by Medicare has ballooned to 61% as
       Trudeau lied to Wall Street.

       At the time, Trudeau must have calculated the investing public would never know the
       damning truth, but only two months later in response to public outrage, this information
       was on its way to being revealed to the public.

       For the year 2015, Medicare and Medicaid Spending is not merely “a little bit” higher
       than 25%. In fact, it is over 61% of Acthar sales.

       146.   The Citron Report included the following chart detailing Acthar spending by

Medicare and Medicaid over the years 2011 through 2015, which showed that the percentage of

Acthar sales that were reimbursed by Medicare and Medicaid was significantly higher than 25%

in each of the years since Mallinckrodt had acquired Questcor, coming in at 45. 51% in 2013,

60. 20% in 2014 and at 61. 32% in 2015.




                                              64
           Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 65 of 105




       H.P. Acthar CMS Spending




       147.   The Citron Report further indicated that Acthar constituted a more significant

portion of the Company’s business than had been disclosed previously. Specifically, the Citron

Report stated: “Let’s not forget that Acthar continues to represent a massively disproportionate

chunk of Mallinckrodt’s bottom line a number that Trudeau is happy to dance around, rather than


                                              65
          Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 66 of 105



disclose the true concentration of risk it took on when it levered up massively to acquire this

never-proven drug.”

       148.   Following the release of the Citron Report, the price of the Company’s stock fell

18.4%, from a closing price of $67.80 on November 15, 2016, to a closing price of $55.32 on

November 17, 2016. This drop wiped out $1.31 billion in Mallinckrodt’s market capitalization.

       149.   On November 17, 2016, the day after the Citron Report was issued, Mallinckrodt

participated in the Jefferies London Healthcare Conference, at which Coleman Lannum, the

Company’s Senior Vice President, Investor Strategy and IRO, and Daniel Speciale, Director,

Investor Relations, spoke and presented slides. Although the Company’s investor relations

executives brought and discussed a series of slides that were presented at the Conference,

including a slide showing comparisons of Acthar net sales between quarters in calendar years

2014 vs. 2013, 2015 vs. 2014, and 2016 vs. 2015, not a single slide was presented that

contradicted the percentages of Acthar revenues paid through Medicare and Medicaid during

the years 2013 (45.51%), 2014 (60.20%) and 2015 (61 32%) that had been included in the

Citron Report. Nor did Lannum or Speciale provide any such precise figures relating to the

Company’s Acthar sales, which Lannum noted was “our largest single product.”

       150.   Following Lannum’s presentation, and after reference by the moderator to the

Citron Report (“there was a report out yesterday basically questioning the level of

reimbursement for Acthar”), Lannum was asked, “can you disclose what percentage of Acthar

sales are collectively, at this point, reimbursed by Medicare and Medicaid?” Lannum responded:

       So if you take a look at our core exposure of Acthar for Medicare, it’s somewhere
       in the mid-40s percent range. If you take it to Medicaid, it’s probably in the
       mid-single digit range. Similar numbers last year, if you go back two years,
       these are – by the way, these are all fiscal year numbers – we’re on a September
       fiscal year – if you go back a couple of years, the exposure’s a lot lower in

                                              66
            Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 67 of 105



         Medicare. It’s probably in the mid-30s. Again, with a mid-single digit, maybe a
         little bit higher kind of Medicaid impact.

         151.   These figures, of course, are significantly higher than the 25%, or “maybe a little

higher,” that Trudeau provided to investors in October 2015 for the percentage of Acthar sales

that were going through Medicare and Medicaid combined – thereby representing an admission

that the prior figures were absolutely and objectively false. Further, Lannum couched his answer

to this question – which he and the entire senior management team at Mallinckrodt must have

known would be posed at the Conference – in very loose terms, saying the Medicare figures

were “somewhere” within a mid-40s range and Medicaid payments were “probably” in the

midsingle digit range. But he further admitted that the same figures held for the year before, i.e.,

when Trudeau presented his answer on October 6, 2015. Thus, even taking Lannum’s statements

at face value, they reveal that Trudeau’s 25% or “maybe a little higher” representation of the

Company’s combined Medicare and Medicaid sales as a percentage of total Acthar sales was

materially and significantly understated, as shown by Lannum’s admission that the figures were

in the “mid-40s range” plus in the “mid-single digit range,” which add up to the low-50s percent

range.

         152.   Lannum sought to explain the growth in the percentage of Acthar sales through

Medicare by saying that a lot of the product’s growth had come in the rheumatology and the

pulmonology areas, and that with diseases like rheumatoid arthritis or sarcoidosis, “you tend to

get a much older patient population.” Due to this, “because those areas are growing for us very,

very quickly, we’ve had a lot more exposure to Medicare over that period of time.” He further

sought to explain the discrepancies by stating that because of the natures of the diseases being

treated, “you’re talking about a relatively low number of patients here,” and because of the “wide

degree of indications that the product has, you get different growth rates in different product
                                                67
              Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 68 of 105



areas, some of which will be very oriented towards commercial pay and some of which will be

oriented towards the government pay side.” But, of course, he nonetheless admitted that the

ranges that he was providing at the Conference as Medicare and Medicaid percentages of total

Acthar sales in November 2016 had “[s]imilar numbers last year,” which means that they were

at least in the low-50s percent range when Trudeau said they were 25% or “maybe a little higher

than that.”

       153.     On November 29, 2016, before the market opened, Mallinckrodt released results

for its fourth fiscal quarter 2016 ended September 30, 2016, and hosted an investor call. Present

on the call for the Company were Defendants Trudeau, Harbaugh, and O’Neill, as well as CSO

Romano and Lannum. During the call, Trudeau stated that the Company’s Acthar’s sales had

proceeded to grow and that the Company had seen “continued growth particularly in

rheumatology, pulmonology and nephrology.” He also stated: “Infantile spasms, intensified

efforts to ensure that infants afflicted with this condition have access to Acthar brought

consistent market share gains across the past several quarters.” He further stated that as the

Company expanded access in pulmonology and rheumatology, “our patient mix has shifted more

toward older patients, many of whom are covered by Medicare.”

       154.     Chris Schott, an analyst from JP Morgan, questioned the Company’s product

concentration, to which Defendant Trudeau responded: “So while our long-term objective is to

have no single product account for more than a third of our operating income, currently our

concentration has increased a bit. And certainly Acthar now represents a significantly greater

proportion of our operating income than a third.” In responding to this question, Defendant

Trudeau did not provide any actual percentages of the portion of Acthar sales that went through

Medicare and Medicaid. Nor did Trudeau contradict the percentages in the Citron Report.

                                               68
           Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 69 of 105



       155.   Defendant Trudeau further sought to explain, in response to another question

about historical penetration levels, as follows: “this business, when we took it on a couple of

years ago, was predominantly a neurology business and now it’s starting to evolve much more

into a pulmonology and rheumatology business.”          But Trudeau’s statement is belied by

Mallinckrodt’s Investor Briefing dated October 14, 2014, which, at slide 18, shows

approximately the same Acthar Net Revenue in fiscal year 2014 from Neurology, Nephrology,

and Rheumatology. It is true that Rheumatology shows a more significant increase, but to say

the business was “predominantly a neurology business” was a further misleading statement,

which Trudeau apparently made to provide cover for his clearly materially false statement of

October 6, 2015.

       156.   Near the end of the earnings call, Defendant Trudeau sought to clarify that:

       [h]istorically the business has been partitioned roughly 30% in neurology, 30%
       rheumatology, 30% nephrology, and then the balance everything else,
       predominantly pulmonology. What we can clearly see is the percentages are
       growing for rheumatology, so now it’s higher than 30%. The percentage of
       neurology is actually declining a bit and nephrology is roughly holding static, and
       we’re seeing growth also occurring in the pulmonology business. So, that kind of
       gives you some perspective on the mix of business.

       157.   However, this doesn’t explain why Trudeau’s statement made just one year prior,

on October 6, 2015, that the level of Acthar sales that were paid by Medicare and Medicaid

combined was 25% or “maybe a little higher” was so wrong for each of the years 2013, 2014 and

2015, as shown through a comparison of the CMS data first made public on November 14, 2016,

and the Company’s historical reported results.

       158.   The disclosures made by Mallinckrodt and its executives on November 29, 2016

caused the Company’s stock price to drop 9.1% from a close of $57.67 per share on November



                                                 69
           Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 70 of 105



28, 2016 to a close of $52.42 per share on November 29, 2016. This drop wiped out an

additional $550 million in Mallinckrodt’s market capitalization.

       159.    The following day, on November 30, 2016, Defendants Harbaugh and O’Neill,

and CSO Romano participated at a Piper Jaffray Healthcare Conference.                   During this

Conference, Defendants continued to seek to explain away the falsity of Defendant Trudeau’s

October 6, 2015 statements regarding Mallinckrodt’s Medicare and Medicaid exposure. At that

conference, O’Neill stated: “Our portfolio has shifted a little bit into the mid-40s as it relates to

Medicare reimbursement for the product versus where it was a year and a half, two years ago

which was more in that low, mid-30s.” What O’Neill did not answer was why Defendant

Trudeau – while responding to a question about Medicare reimbursements – affirmatively and

intentionally presented data for combined Medicare and Medicaid reimbursements, and then

misrepresented as “maybe a little higher” than 25% the combined reimbursement percentage

when, in the years 2014 and 2015, the actual figures were over 60% and over 61% according to

the Citron Report of November 16, 2016, and in the low 50’s percent range as admitted by

Coleman Lannum, the head of Mallinckrodt Investor Relations, on November 17, 2016.

               4.      Defendants’ Statements During 2017 Concerning Acthar’s Claimed
                       Growth Across Payer Mix, Strengthened Formulary Positions,
                       Removal or Relaxation of Formulary Restrictions, Expansion in
                       Commercial Lives Under Contract and Guidance Were False or
                       Materially Misleading

       160.    Even after the revelations concerning the true extent of Acthar sales that were

reimbursed by Medicare and Medicaid compared to private insurers and the settlement with the

FTC, Defendants continued to make statements that misled the market with respect to the

longterm prospects for the Company’s Acthar sales and served to maintain Mallinckrodt’s stock

price at artificially inflated levels. These included statements concerning Acthar’s claimed

                                                 70
             Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 71 of 105



growth across the payer mix, strengthened formulary positions, removal or relaxation of previous

formulary restrictions, expansion in terms of the number of commercial lives under contract, and

guidance throughout this time period for mid-single digit to low double digit growth in net

Acthar sales.

         161.   On January 19, 2017, the day after the FTC settlement was announced, Defendant

Trudeau, Investor Relations head Coleman Lannum and CSO Steven Romano participated in a

“Business Update Call” with analysts. Defendant Trudeau described the settlement with the FTC

as merely “another step forward in our overall overhang de-risking process” stemming from

Mallinckrodt’s acquisition of Questcor, as was the earlier settlement of the antitrust claims

asserted by Retrophin, and said that the FTC settlement did nothing to change the competitive

environment for Acthar. Indeed, after noting that the FTC settlement provided for a licensing of

Synacthen for infantile spasms and nephrotic syndrome, Romano said that Mallinckrodt had

never considered the development of Synacthen for those purposes, and Lannum said the

Company ascribed “zero value” to those assets. (This was, of course, inconsistent with the

valuation that Questcor, which Mallinckrodt acquired for $5.6 billion in cash and stock and now

was a subsidiary of Mallinckrodt, placed on Synacthen when it outbid at least three other

potential acquirers to obtain the U.S. development rights to Synacthen, thereby eliminating the

risk that someone would develop Synacthen as a competing drug to Acthar.) Defendant Trudeau

added in this regard that Mallinckrodt continued to see Acthar “as an exceptionally durable

asset” and reiterated the Company’s belief that “we will be able to consistently drive mid single

digit to low double-digit growth based predominantly on volume.”21




21
     Accessible at: http://www.media-server.com/m/acs/13bb9558a227350d4f59c9fb6f60da8e.
                                               71
           Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 72 of 105



       162.    On February 7, 2017, Defendants reiterated this guidance in a press release filed

as an exhibit to a Form 8-K and during an Earnings Call that (a) reported on the Company’s

results for the transition period from October 1, 2016 to December 30, 2016, and (b) provided

guidance for the year 2017. The press release reported that Acthar net sales were $325.4 million,

a 13.5% increase over net Acthar sales of $286.7 million in the comparable quarter in 2015. The

Company further gave guidance for the upcoming 52-week calendar year, which it contrasted

with the prior 53-week fiscal year. The Company projected adjusted diluted earnings per share

of $7.40 to $8.00 per share, and an increase of 4% to 7% for the net sales of the Specialty Brands

segment (the segment that markets Acthar).

       163.    During the earnings call the same day,22 Defendant Trudeau addressed the FTC

settlement, stating: “Although we strongly disagree with the allegations outlined in the FTC’s

complaint, this resolution removes the long-term distraction and overhang of litigation and

allows us to more fully concentrate on growing and expanding our business.” He stated that since

acquiring Acthar, the Company had “consistently focused on two things to create long-term

sustainable value. First, expand access and reach to appropriate patients, and second work

deliberately and systematically to resolve overhanging legacy issued we inherited when we

acquired the drug.” He represented that the Company had made “great progress in both areas.”

       164.    Defendant Trudeau further stated during the call that with these efforts, “we’ve

also seen growth in Acthar in the mid single-digit to low double-digit range driven

predominantly from volume increases in both commercial and public payer plan. … We expect

these trends to continue.” And, in response to an analyst question about the Acthar payer mix,

Defendant Trudeau stated:

22
 Accessible at: https://www.nasdaq.com/aspx/calltranscript.aspx?StoryId=4043430&Title=
mallinckrodt-plc-mnk-q5-2016-results-earnings-call-transcript.
                                               72
           Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 73 of 105



       165.   On May 8, 2017, the Company reported its results for the first quarter 2017. The

Company reported that Acthar net sales were $271.8 million, a 9.4% increase over $248.4

million in the comparable quarter in 2016. Commenting on the Acthar sales, Defendant Trudeau

was quoted in the press release as stating: “Notably, we continue to see strengthening in Acthar

formulary positions and access for appropriate patients in both the commercial and public

environments, including relaxation or removal of previous formulary restrictions and, in at least

one case, addition of Acthar to a formulary for the first time.” Commenting further during the

earnings call the same day, Trudeau stated that “we continue to strengthen formulary positions

and access to Acthar,” including actions “relaxing or removing previous formulary

restrictions.”23 He continued: “We’re pleased with the ongoing progress and further stabilization

we’re achieving within the payer landscape and believe the high unmet medical need and low

market penetration in most indications will support increased demand growth for Acthar.”

       166.   Trudeau represented that the Company was still achieving 60% commercial lives

under contract for Acthar, which further was said to give Mallinckrodt “good confidence that we

can continue to drive the long-term growth rate expectations in the mid-single to low doubledigit

range.”24 Defendant Harbaugh added that the Company’s rebating strategy “was fully considered


23
     Accessible at: https://seekingalpha.com/article/4070664-mallinckrodt-plc-mnk-q1-2017-
resultsearnings-call-transcript.
24
   Shortly after Mallinckrodt acquired Questcor, the Company began a project that had a “long-
term objective” to bring the majority of “covered lives” under contract in order to solidify
Acthar’s reimbursement from private insurers. In the Company’s earnings call of February 2,
2016, Defendant Trudeau stated that Acthar’s commercial coverage “stands at about a third of
the total eligible US patient population under contract with key payers and we continue to focus
on expanding coverage with other major payers.” He further stated “we’re pleased with the
progress we’re making in managed care with regards to access” and that “we continue to make
progress and continue to have a very good dialogue with managed care.” During the earnings call
of August 2, 2016, Trudeau again addressed this “long-term objective” and stated that “over the
course of the last two years or so, we have moved that [the proportion of covered lives under
                                               73
           Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 74 of 105



in the guidance that we provided.” Finally, Lannum reiterated that: “All the ranges that we gave

on the last call in February remain unchanged at this time.”

       167.    On May 19, June 6 and June 22, 2017, Mallinckrodt issued press releases in

response to reports issued by short-sellers. In these releases, among other things, the Company

stated that Acthar’s efficacy in its approved indications was strongly supported by evidence; that

the Company had expanded the number of commercial lives under contract from zero to nearly

60%; and that in the commercial reimbursement space, “the majority of payers have an

established pathway for the use of H.P. Acthar Gel in those patients for whom it is appropriately

prescribed – those with conditions covered by the FDA-approval label and for whom the

product’s extensive existing data and clinical experience support H.P. Acthar Gel’s use as a

proven therapy.” The Company further represented that the “prior-authorization and

reimbursement processes used by commercial payers rely on these criteria, and are not bypassed

through co-pay programs.”

       168.    On August 8, 2017, the Company announced its results for the second quarter

ended June 30, 2017 in a press release and hosted a call with analysts the same day. In the press

release, the Company reiterated its EPS guidance at $7.40 to $8.00 notwithstanding that net sales

were down 4.9% to $824.5 million in the quarter compared to the same quarter in 2016, and that

adjusted diluted EPS in the quarter were $1.85 compared to $2.03 in the same quarter in 2016.

The Company further reported that Acthar net sales were $319.4 million in the second quarter

period, a 7.1% increase over $298.3 million in the same quarter in 2016.



contract for Acthar] from zero to now greater than 50%.” In making these statements, and others
in the year 2017, Trudeau sought to assure analysts and investors that the Company was moving
in a positive direction to obtain significant increases in reimbursement payments for Acthar from
private insurers.
                                                74
           Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 75 of 105



       169.   On the earnings call that day, Defendant Trudeau stated that Acthar’s 7.0%

growth during the quarter was “within our long-term range of mid-single to low double digits,”

noting that while increased price was the “driver” during the second quarter, the Company’s

expectations “longer term are that growth will be predominantly volume-driven, and we expect

to see that in the back half of the year.” He further stated: “we’ve been building on the

strengthening formulary positions we’ve reported in the first quarter and are pleased to see that

new patient prescriptions have reached their highest point in the last 12 months across the

majority of promoted indications as we reach a broadening base of prescribers with additional

data.” Trudeau added in response to an analyst question concerning Acthar: “In terms of the

growth, we would expect kind of similar type growth rates regardless of the payer mix, whether

it’s federal reimbursed patients, Medicare primarily or commercial patients, we would expect

similar growth rates regardless of the type of reimbursement that occurs.” He further said: “we

continue to see good, strong formulary positioning, strengthening formulary positions that we

alluded to in the first quarter,” and that with the new data the Company had published on Acthar,

“we wouldn’t expect anything different here going forward.”25

       170.   Defendants’ 2017 above statements omitted key information and, thus, misled the

market into believing that as Acthar prescription levels increased, so too would its net sales.

First, Defendants’ claims during 2017 that Acthar’s efficacy in its approved indications was

strongly supported by evidence was highly misleading. As the authors of the seminal report

published in a leading medical publication, the Journal of the American Medical Association


25
   Saying that Mallinckrodt had strengthened Acthar’s formulary position conveyed to the market
that Acthar was being included in more insurers’ formularies of approved medications under
their plans and that insurers had expanded the circumstances (for instance, for treatment
indications and for the duration of treatments) under which they would approve and provide
reimbursement for Acthar.
                                               75
           Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 76 of 105



(“JAMA”), wrote in reply to a letter from Mallinckrodt’s Chief Medical Officer, while Acthar

has been found to be effective for infantile spasms and to treat relapses of multiple sclerosis, “the

remainder of studies, as summarized in the review cited by Dr. Otulana, are of low quality,

consisting primarily of case series, small uncontrolled single-arm studies, and several

observational studies of health care utilization.”26 As a result, they wrote: “Given the

preponderance of small and uncontrolled single-arm studies, we have serious doubts that these

studies will provide scientific evidence sufficient to justify use of Acthar at its current price.”

       171.    Second, Defendants’ consistent invocations of increased percentages of

commercial lives under contract, that “the majority of payers have an established pathway” for

the use of Acthar in patients for whom it is appropriately prescribed for conditions covered by

the FDA-approval label, and the Company’s often repeated anticipated “mid-single to low

double digits” Acthar growth rates, were highly misleading since many private insurers –

throughout 2017 – had approved reimbursement for Acthar for only a few of its indications. For

instance, Aetna’s Clinical Policy Bulletin (“CPB”) for Repository Corticotrophin Injection

(Acthar) had stated on August 8, 2008, that Acthar was “considered medically necessary for

diagnostic testing of adrenocortical function, West syndrome (infantile spasms), and any of the

FDA approved indications for repository corticotrophin after the patient has failed corticosteroid



26
   This constituted a serious critique of Mallinckrodt’s data. An arm of a study is a group of
patients receiving a particular treatment (or no treatment at all). A single arm study is one in
which all of the patients receive the same treatment; there is no control or other experimental
group. This is distinguished from a two-arm randomized trial, in which patients are randomly
assigned to two different groups: one group to receive the drug being tested, and a second group
to receive an alternative treatment or a placebo, in order to compare their medical outcomes.
Single arm studies are typically used in phase II of clinical trials, whose main objective is to
determine whether a new treatment warrants further testing in a randomized phase III trial.
Similarly, there is no randomized study of different treatments in observational studies or case
series.
                                                  76
             Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 77 of 105



therapy.”27 Over the years, however, the CPB was revised to state that Acthar was considered:

“not medically necessary for diagnostic testing of adrenocortical function” and “not medically

necessary for corticosteroid-responsive conditions because it has not been proven to be more

effective than corticosteroids for these indications” (Sept.     14, 2012);28 “experimental and

investigational for dermatopolymyositis, nephrotic syndrome (including focal segmental

glomerulo-sclerosis,      idiopathic    membranous        nephropathy,      IgA     nephropathy,

membranoproliferative glomerulo-nephritis, and monoclonal diffuse proliferative glomerulo-

nephritis), and systemic lupus erythematosus” (Dec.             9, 2014);29 “experimental and

investigational for amyotrophic lateral sclerosis, multiple sclerosis, optic neuritis, and

rheumatoid arthritis” (Nov. 20, 2015);30 and “experimental and investigational for birdshot

choroiditis, pulmonary sarcoidosis, neurosarcoidosis, and uveitis (including panuveitis and

posterior uveitis)” (Nov. 3, 2017).31

         172.   Similarly, Cigna’s coverage policies provide that while Acthar is considered to be

“medically necessary” for treatment of infantile spasms in an individual less than 2 years old, it




27
     Accessible at: http://www.aetna.com/cpb/medical/data/700_799/0762.html.
28
  Accessible at: http://www.aetna.com/cpb/medical/data/disclaimer/review/700_799/0762_5.
html.
29
  Accessible at: http://www.aetna.com/cpb/medical/data/disclaimer/review/700_799/0762_9.
html.
30
  Accessible at: http://www.aetna.com/cpb/medical/data/disclaimer/review/700_799/0762_11.
html.
31
  Accessible at: http://www.aetna.com/cpb/medical/data/disclaimer/review/700_799/0762_15.
html.
                                                77
            Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 78 of 105



is considered to be “not medically necessary for all other indications.”32 Cigna’s coverage

policies further states:

        Current evidence does not support any definitive benefit to the use of H. P Acthar
        Gel over conventional corticosteroids and/or immunosuppressive therapy
        (including prednisone and methylprednisolone) for FDA approved indications
        other than treatment of infantile myoclonic seizures. H. P. Acthar Gel is
        clinically equivalent but not superior to conventional corticosterois and/or
        immunosuppressive therapy for the treatment of multiple sclerosis, rheumatic
        disorders, collagen diseases, dermatologic disorders, allergic states, ophthalmic
        diseases, respiratory diseases, or edematous states, and is significantly more
        expensive. Coverage for H.P. Acthar Gel may therefore depend upon the
        applicable health benefit plan definition of medical necessity. Where that
        definition limits coverage to the most cost-effective equivalent treatment, the use
        of H.P. Acthar Gel for indications other than infantile myoclonic seizures is
        considered not medically necessary.

        173.    Similarly, United Healthcare’s policy with respect to Acthar, which was revised

on September 1, 2017 and remains in place today, states that while Acthar is “proven and

medically necessary” for the treatment of infantile spasm for up to 4 weeks when its enumerated

criteria are met and for the treatment of opsoclonus-myoclonus syndrome (i.e., OMS,

Kinsbourne Syndrome) when its enumerated criteria are met, and may also be covered for

nonmedical necessity plans for the treatment of acute exacerbation of multiple sclerosis, it is

“unproven and not medically necessary” for treatment of the following disorders and diseases:

rheumatic disorders (psoriatic arthritis, rheumatoid arthritis, including juvenile rheumatoid

arthritis, ankylosing spondylitis); collagen diseases (systemic lupus erythematosus, systemic

dermatomyositis     (polymyositis)); dermatologic diseases      (severe erythema multiforme,

StevensJohnson syndrome); allergic states (serum sickness); ophthalmic diseases (severe acute

and chronic allergic and inflammatory processes involving the eye and its adnexa, such as

keratitis, iritis, iridocyclitis, diffuse posterior uveitis and choroiditis, optic neuritis,

32
  Accessible at: https://cignaforhcp.cigna.com/public/content/pdf/coveragePolicies/pharmacy/
ph_8001_coveragepositionc riteria_acthar.pdf.
                                                78
              Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 79 of 105



chorioretinitis, anterior segment inflammation); respiratory diseases (symptomatic sarcoidosis);

edematous state (to induce a diuresis or a remission of proteinuria in the nephrotic syndrome

without uremia of the idiopathic type or that due to lupus erythematosus); and any indication

outside of the proven indications above.33

       174.     Many Blue Cross Blue Shield entities had similarly not expanded their approvals

for Acthar treatments beyond a few indications. For example, Independence Blue Cross Blue

Shield, which serves Southeastern Pennsylvania, adopted a policy that had become effective

November 25, 2014, and has remained in place, under which it will only approve the use of

Acthar to treat infantile spasms in individuals age 2 or younger, and will not approve requests for

Acthar for uses such as, but not limited to: multiple sclerosis; rheumatic disorders (e.g., psoriatic

arthritis, rheumatoid arthritis, juvenile rheumatoid arthritis, ankylosing spondylitis); collagen

diseases (e.g., systemic lupus erythematosus, systemic dermatomyositis [polymyositis]);

dermatologic disease (e.g., severe erythema multiforme, Stevens-Johnson syndrome); allergic

states (e.g., serum sickness); ophthalmic diseases (e.g., keratitis, iritis, iridocyclitis, diffuse

posterior uveitis, choroiditis, optic neuritis, chorioretinitis, anterior segment inflammation);

respiratory conditions (e.g., symptomatic sarcoidosis); to induce a diuresis or a remission of

proteinuria in nephrotic syndrome without uremia of the idiopathic type or due to lupus

erythematosus; corticosteroid-responsive conditions; or diagnostic testing for adrenocortical

function.34




33
  Accessible at: https://www.uhcprovider.com/content/dam/provider/docs/public/policies/
comm-medicaldrug/repository-corticotropin-injection-hp-acthar-gel.pdf.
34
  Accessible at: http://provcomm.ibx.com/ProvComm/ProvComm.nsf/afe9b349fb4d82ef852579
12006dc3f7/418febd7be2 350ab85257d6400654e43!OpenDocument
                                                 79
           Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 80 of 105



       175.   Thus, notwithstanding Defendants’ representations about Acthar having gained

greater access to insurance coverage for private managed care, the reality was that many major

insurers were continuing to approve Acthar only for a limited range of treatments, and others

were continuing to place severe restrictions on the duration of Acthar treatments, both of which

created an undisclosed risk that a substantial portion of the prescriptions written for Acthar

would never be filled and Acthar sales could decline.        The Defendants’ statements about

improved access to private insured lives were, for these reasons, false and/or materially

misleading.

       176.   The falsity of Defendants’ statements in this regard came to light when, on

November 7, 2017, the Company reported for the first time in its history that net sales of Acthar

in the quarter had declined from the net sales in the comparable quarter in the prior year.

Specifically, the Company disclosed that its net sales of Acthar in the third quarter ended

September 29, 2017 were $308.7 million, down by 5.6% from net sales of $327.0 million during

the same quarter in 2016. Mallinckrodt 3Q2017 Form 10-Q, at 35. The $308.7 million in third

quarter 2017 Acthar net sales also missed analysts’ consensus estimate of $326.6 million.

Reuters, “Mallinckrodt slumps as Acthar drug sales disappoint,” Nov. 7, 2017, 8:38 a.m.

       177.   During the third quarter 2017 earnings call held on November 7, 201735

Defendant Trudeau said that “Acthar sales growth slowed in the quarter impacted by both the

comparison against 2016 with an additional selling week and a volume decline.” He attributed

the volume decline to the fact that “as the third quarter progressed, we saw an increasing

number of prescriptions going unfilled beyond the level we had seen previously,” which the

Company anticipated would take time to work through, leading to the expectation that fourth

35
 Accessible at: https://www.nasdaq.com/aspx/calltranscript.aspx?StoryId=4121687&Title=
mallinckrodt-plc-mnk-q3-2017-results-earnings-calltranscript.
                                               80
            Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 81 of 105



quarter 2017 Acthar net sales would also be down sequentially and that the Company would

thereafter provide guidance for the year 2018.     In responding to one of the many analyst

questions concerning the Company’s Acthar sales, Trudeau admitted that Acthar “continues to

experience payer pressures” and “we expect those payer pressures to continue to be more

challenging. We expect payers to put more and more hurdles in front of patients getting

reimbursement.… The situation that we’re experiencing now is this combination of both those

payer pressures, plus … the additional issue that we’re seeing with these patient prescriptions

going unfilled at this point.”

       178.    The decline in Acthar sales in the third quarter 2017 from the comparable quarter

in 2016 was no fluke. In fact, confirming the private payer issues facing the Company and that

were materially misrepresented during the Relevant Period, declining sales have continued into

the fourth quarter 2017 and the first quarter 2018. Net Acthar sales of $295.2 million in the

fourth quarter 2017 (ended December 29, 2017) represented a 9.3% decline from net sales of

$325.4 million in the fourth quarter 2016. And net Acthar sales of $243.8 in the first quarter

2018 (ended March 30, 2018) represented a 10.3% drop from net sales of $271.8 million in the

first quarter 2017.

       E.      The Truth About Mallinckrodt Is Revealed Over Time

       179.    On August 4, 2015, Mallinckrodt reported financial results for the quarter ended

June 26, 2015. Mallinckrodt not only reported revenue that was well below analyst expectations,

but it disclosed that Acthar’s sales growth would be much lower than expected going forward.

During a conference call on that same day, Defendant Trudeau highlighted the fact that the

Company was facing a great deal of pressure from health insurance companies and other payers



                                              81
           Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 82 of 105



over the cost of Acthar and warned that a string of consolidation in the health insurance industry

could make the situation even more difficult. Defendant Trudeau stated:

        Yeah. So, first of all, let me say that we’re quite pleased with our performance
        for Acthar in the quarter, $269 million for the quarter, that’s an all-time record
        quarter for the product. And we’re pleased that we’re continuing to be able to
        drive growth, particularly given the fact that last year’s third quarter was a
        particularly strong quarter when it was in the previous owner’s hands.

        We’re very encouraged by the promotional effort behind Acthar, but one of the
        things we are experiencing certainly is a more difficult payer environment
        certainly then was the case a year ago. And that’s really what’s changing our
        perspective with regards to the long-term prospects of Acthar. As I mentioned
        earlier, we anticipate long term that Acthar will be growing in the mid-single to
        low-double-digit range over the next couple of years.

        We’re very encouraged by the fact, though, that we’re making now very good
        progress with payers. We’re having, I think, very productive dialogue with
        payers and the rest of that is what we announced this morning, is that we’ve been
        put on at least one major payer’s preferred drug list for Acthar which is a
        significant event for us. And we continue to have dialogue with a variety of
        additional payers, primarily around the database behind Acthar and the
        appropriate positioning of the product as it’s used in its variety of indications in
        autoimmune and rare diseases.

        180.   In response to further questioning as to whether “pressure from payers” was offset

by success in securing a spot on an insurer’s preferred formulary. Defendant Trudeau stated in

part:

        [W]hat we see is the payer environment … is certainly eroded a bit from where
        we were a year ago. It’s more difficult, we think, across the board, across the
        industry to get reimbursement on key products, and Acthar is no different.

        In the case of Acthar, of course, historically, there had been relatively little
        discussion at the payer policy level regarding the data set around Acthar and the
        proper positioning of the product. And I think in previous discussions, we had
        talked about the fact that we had initiated those discussions. And in fact, what
        we’re seeing now, we believe, is the first fruits of those labors where we are
        getting put in a preferred drug list.

                                         *       *       *


                                                82
           Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 83 of 105



       If I net all of these things out, I think that right now, the pressure from the payer
       environment is perhaps a little bit stronger than the progress that we’ve been able
       to make to this point. But clearly, we’re starting to push in the opposite direction.
       And we would think over time those things would balance themselves out. And I
       think that’s why we’re giving the direction of, well, how to think about Acthar in
       that the revenue growth rates are likely to be towards the lower end of our range
       for the next several quarters until we can make further progress on the payer
       environment which we believe will still take us a number of quarters to achieve.

       181.    In reaction to the August 4, 2015 disclosures, the stock price of Mallinckrodt

declined 14% or $17.48 per share, from a close of $124.21 on August 3, 2015 to a close of

$106.73 on August 4, 2015. However, the Defendants’ statements made in the August 4, 2015

continued to be materially false and misleading. Among other things, Defendant Trudeau’s

statement that “we’re making now very good progress with payers” was false or, at the least,

materially misleading, because as the CMS data would later show, the portion of Acthar sales

that were being reimbursed through Medicare and Medicaid had consistently increased from

2013 (45%) to 2014 (60%) and to 2015 (61%). His statement was similarly false and materially

misleading because it omitted to state that the Company’s projected growth in Acthar sales, in

the mid-single to low-double-digit range over the next couple of years, was only possible

because of the Company’s violations of the antitrust laws and the actions it was taking to

maintain the ACTH monopoly for Acthar in the U.S. market.

       182.    Further corrective disclosures came primarily from sources outside the Company,

but similarly led to significant market corrections of the Company’s stock price.

       183.    On November 9, 2015, Citron Research released a statement likening

Mallinckrodt to Valeant Pharmaceuticals and summarized Mallinckrodt’s history of price

increases for Acthar. The tweet specifically referenced the Company’s reimbursement levels:

“At these prices $MNK [Mallinckrodt] has signif more downside than $VRX [Valeant] -- far

worse offender of the reimb[ursement] sys[tem] - more to follow. VRX can’t live in a vacuum.”
                                                83
           Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 84 of 105



By issuing this statement, Citron helped to disclose the magnitude of the wrongdoing by

Mallinckrodt, and that it was even greater than the notorious benchmark provided by Valeant,

which the market knew had already resulted in substantial harm to investors. Following the

issuance of the Citron tweet, the price of the Company’s stock fell 17% from a close of $69.89

on November 6, 2015, to close at $58.01 on November 9, 2015. The November 9, 2015 stock

drop wiped out $1.25 billion in Mallinckrodt’s market capitalization.36

       184.    The next day, Defendant Trudeau appeared on CNBC to respond to Citron’s

allegations in an attempt to forestall a further decline Mallinckrodt’s stock price. On CNBC’s

“Squawk Box,” Defendant Trudeau stated that “the facts [Andrew Left] quoted were mostly, if

not completely wrong.” He further said: “We also announced on our third quarter earnings call

and confirmed on our guidance call that we are having very good success now in getting Acthar

into favorable formulary positions … which should ensure the long-term stability of

reimbursement for Acthar, which is what we are all about. We are playing the long game with




36
  The significance of Citron’s November 2015 negative disclosures concerning Mallinckrodt
was highlighted in a February 29, 2016 letter from the SEC to Defendant Harbaugh, stating:

       We note recent media reports regarding the pricing of Acthar and the potential for
       increased scrutiny and government investigations regarding such pricing. We
       also note the substantial decrease in your stock price in November 2015 in
       response to the negative publicity. Please tell us what consideration you gave to
       disclosing the material risks to your company related to the public scrutiny of
       your Acthar pricing, including the material impact of any current or potential
       investigations or litigation.

Mallinckrodt responded on March 11, 2016 with a publicly-filed letter to the SEC that was
accessible to investors on the SEC’s website. Mallinckrodt’s response disputed the assertions in
the November 9, 2015 tweet by Andrew Left of Citron and asserted that the Company’s
discussion of certain risk factors in the 2014 Form 10-K filed on November 15, 2014,
“sufficiently addressed the material risks associated with Acthar.” This was a further false and
misleading statement.
                                               84
             Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 85 of 105



this product because it is very durable, it’s very effective for a variety of different autoimmune

conditions, and it is one that we think is going to continue to drive value for the company.”37

         185.    The above statements are materially false and/or misleading because they

misrepresented and failed to disclose adverse facts pertaining to Mallinckrodt’s business and

operations which were known to or recklessly disregarded by Defendants. Defendants failed to

disclose that Mallinckrodt’s sales of Acthar were dependent on illegal, anticompetitive conduct

in preventing a competing synthetic version of ACTH from entering the U.S. market. Moreover,

although Defendant Trudeau chose to comment publicly on Andrew Left’s comments about the

reimbursement system for Acthar, Defendant Trudeau failed to disclose that, at the time, the

Company was obtaining more than 60% of all payments for Acthar from Medicare and

Medicaid, which Trudeau had stated on October 6, 2015 – just one month earlier – stood at 25%

or “maybe a little higher.”

         186.    On March 15, 2016, Citron issued another statement on Twitter regarding the

Company, noting that the market was beginning to realize that owning Mallinckrodt stock was as

risky as owning Valeant. Specifically, Left tweeted “Mkt. is starting to realize that $MNK

[Mallinckrodt] equal risk to $VRX [Valeant]. Andrew Left of @Citron on CNBC 5:30 to

explain risks of the $MNK platform.” Left then appeared on CNBC’s Fast Money asserting that

Mallinckrodt made Valeant look like a “choirboy,” and stated that Mallinckrodt is worse than

Valeant because it’s “dependence on one drug, close to let’s say 50 percent their EBITDA,

depends on what metric you want to look at, is dependent on one particular drug. Not let’s say

30 like Valeant has. Left also described Acthar as having “no real clinical testing” and as the

“poster child” of price gouging.


37
     https://www.cnbc.com/2015/11/09/another-drug-stock-tanks-on-citron-short-threat.html.
                                                85
           Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 86 of 105



       187.    Defendant Trudeau dialed-in to Fast Money that day and attempted to rebut Left’s

statements, declaring: “First and foremost, Mallinckrodt is a well-diversified, strong company.

We are transparent. Our strength is both operational and financial.” He further represented that

“Acthar represents less than a third of [Mallinckrodt’s] business, …” He reiterated that the

Company has a “very strong, solid business model. Well diversified with excellent brands.”

       188.    Notwithstanding Defendant Trudeau’s statements in favor of the Company, shares

of Mallinckrodt stock fell after the disclosures made by Left. Mallinckrodt shares dropped 20%

over a two-day period, from a close of $69.61 on March 14, 2016, to a close of $55.69 per share

on March 16, 2016. This two-day drop wiped out another almost $1.5 billion in Mallinckrodt’s

market capitalization.

       189.    Moreover, Trudeau’s comments still did not disclose the truth about the Company

or its Acthar franchise. Among other things, while Acthar’s reported revenues may have been

about one-third of the Company’s total reported revenues, the Acthar franchise was responsible

for far more than one-third of the Company’s operating income. An October 12, 2015 analyst

report issued by J.P. Morgan had noted the importance of the Acthar franchise to Mallinckrodt,

stating its conclusions that Acthar represented $1 billion in sales and about 50% of the

Company’s operating profit. But, of course, that was only an opinion issued by an outside

analyst. And less than a year after Trudeau’s comments in mid-March, on November 29, 2016,

when Trudeau was responding to the CMS data and Citron Report issued on November 14 and

16, 2016, respectively, he admitted that substantially more than one-third of the Company’s

operating income derived from Acthar sales. As Trudeau stated: “So while our long-term

objective is to have no single product account for more than a third of our operating income,



                                              86
           Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 87 of 105



currently our concentration has increased a bit and certainly Acthar now represents a significant

greater proportion of our operating income than a third.”

       190.       On November 14, 2016, as alleged above, the CMS released updated drug pricing

data for 2015 indicating that Medicare spending on Acthar had increased from $391 million in

2014 to $648.5 million in 2015. Two days later on November 16, 2016, as further alleged above,

the full extent of the Company’s reliance on Medicare and Medicaid reimbursements for Acthar

came to light when Citron published a report accusing the Company and Defendant Trudeau of

securities fraud in connection with Trudeau’s representations regarding the percentage of Acthar

sales for which Mallinckrodt received Medicare reimbursement were false on the Company’s

October 6, 2015 conference call, and showing that contrary to the representations that Acthar

sales attributed to Medicare and Medicaid “maybe a little higher” than 25% of the Company’s

sales, they were actually over 60% and 61% in 2014 and 2015, respectively. The Citron Report

also highlighted the fact that Acthar represents a much more significant portion of the

Company’s business.        Specifically, the Citron Report noted “Let’s not forget that Acthar

continues to represent a massively disproportionate chunk of Mallinckrodt’s bottom line a

number that Trudeau is happy to dance around, rather than disclose the true concentration of risk

it took on when it levered up massively to acquire this never-proven drug.”

       191.       Following the release of the Citron Report, the price of the Company’s stock fell

18.4%, from a closing price of $67.80 on November 15, 2016, to a closing price of $55.32 on

November 17, 2016.         This drop wiped out another $1.31 billion in Mallinckrodt’s market

capitalization.

       192.       Then, on November 29, 2016, before the market opened, Mallinckrodt released

results for its fourth quarter 2016 and hosted a quarterly call with analysts. Chris Schott, an

                                                  87
           Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 88 of 105



analyst from JP Morgan, questioned the Company’s product concentration, to which Defendant

Trudeau responded: “So while our long-term objective is to have no single product account for

more than a third of our operating income, currently our concentration has increased a bit and

certainly Acthar now represents a significantly greater proportion of our operating income

than a third.” Defendant Trudeau did not provide what proportion of Mallinckrodt’s operating

income Acthar actually represented, but this admission made clear that Defendant Trudeau’s

prior statement, on March 15, 2016, that Acthar represented less than one-third of the

Company’s business was false or, at the least, materially misleading.

       193.    The news of the Company’s actual reliance on Acthar for substantially more than

one-third of its total operating income, along with other disclosures made that day, caused

Mallinckrodt’s stock price to drop 9.1% from a close of $57.67 per share on November 28, 2016

to a close of $52.42 per share on November 29, 2016. This drop wiped out an additional $550

million in Mallinckrodt’s market capitalization.

       194.    Further, on January 18, 2017, as alleged above, the FTC and the States of Alaska,

Maryland, New York, Texas and Washington filed a complaint against Mallinckrodt alleging

that the Company violated antitrust laws when Questcor acquired the rights to Synacthen, a drug

that threatened its monopoly in the U.S. market for ACTH drugs, and thereafter continued to

charge monopoly prices for Acthar and suppress any development of Synacthen in the U.S.

market for indications that would have competed with Acthar. FTC Chairwoman Edith Ramirez

stated “Questcor took advantage of its monopoly to repeatedly raise the price of Acthar, from

$40 per vial in 2001 to more than $34,000 per vial today – an 85,000 percent increase. We

charge that, to maintain its monopoly pricing, it acquired the rights to its greatest competitive



                                                   88
           Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 89 of 105



threat, a synthetic version of Acthar, to forestall future competition. This is precisely the kind of

conduct the antitrust laws prohibit.”

       195.       Along with the filing of the FTC Complaint, the FTC also filed a Consent Decree

in which Mallinckrodt agreed to pay $100 million to settle the claims alleged against the

Company, which equated to 43% of Mallinckrodt’s total operating income (before taxes) for its

2016 fiscal year. In addition, as part of the settlement with the FTC, Mallinckrodt was required

to agree to license Synacthen to a competitor who could then commercialize the drug in the U.S.

for the treatment of Infantile Spasms and Nephrotic Syndrome.

       196.       On this news of the filing of the Complaint and Consent Decree, the price of the

Company’s stock fell 5.85%, from a close of $49.42 on January 17 to a close of $46.53 on

January 18, 2017.        This stock drop wiped out over $300 million in Company market

capitalization.

       197.       Finally, on November 7, 2017, as alleged above, the full truth about

Mallinckrodt’s Acthar product was revealed and the falsity of Defendants’ statements made

during 2017 concerning Acthar’s claimed growth across the payer mix, strengthened formulary

positions, removal or relaxation of previous formulary restrictions, expansion in terms of the

number of commercial lives under contract, and guidance throughout this time period for

midsingle digit to low double digit growth in net Acthar sales, came to light when the Company

reported for the first time in its history that net sales of Acthar in the quarter had declined from

the net sales in the comparable quarter in the prior year. With the disclosures of November 7,

2017, the price of Mallinckrodt stock fell by 35.5%, falling by $11.07 per share from a closing

price of $31.18 on November 6, 2017, to a closing price of $20.11 on November 7, 2017, on



                                                 89
           Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 90 of 105



enormous volume of over 34 million shares traded. This stock drop wiped out $1.05 billion in

the Company’s market capitalization.

       198.    As set forth herein, Defendants, by virtue of their receipt of information reflecting

the true facts regarding the Company, their control over, receipt and/or modification of

Mallinckrodt’s allegedly materially misleading statements and omissions, and/or their positions

with the Company which made them privy to confidential information concerning Mallinckrodt,

participated in the fraudulent scheme alleged herein.

       199.    Defendant Trudeau was, at all times during the Relevant Period and continuing to

the present, the CEO of the Company and a member of the management executive committee.

As alleged in greater detail above, Defendant Trudeau made affirmative statements in press

releases and presentations concerning the Company’s business plans and operations, its

competitive environment, its results and its future prospects, which included the Company’s

Acthar product that contributed approximately one-third of the Company’s total revenues and

substantially more than that of its operating income. Defendant Trudeau further intentionally

made affirmative statements about the Company’s and Acthar’s percentages of reimbursement

combined from Medicare and Medicaid when he was asked only about Medicare, thereby

presenting himself as knowledgeable about that subject.

       200.    The Company’s Board and management were provided with up-to-date

information concerning its sales of Acthar. This further corroborates that Trudeau’s statement in

October 2015 that the percentage of Acthar sales that were reimbursed by Medicare and

Medicaid was “maybe a little higher” than 25% – when, in fact, the percentage of Acthar sales

that were reimbursed by Medicare and Medicaid was actually much higher (60% and 61% in

2014 and 2015, respectively, according to the Citron Report, and at least 50% as belatedly

                                                90
           Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 91 of 105



admitted by the head of Mallinckrodt’s Investor Relations, Coleman Lannum) – was an

intentional misstatement made by Trudeau. The Company’s culpability, and the culpability of

each of its management team, is further evidenced by the fact that this significant misstatement

was not corrected by Trudeau or by any other member of Mallinckrodt management either

during the October 2015 conference or at any other time over the ensuing 13 months. Rather, the

truth about this material misstatement by Defendant Trudeau came to light only after the CMS

reported on Medicare and Medicaid spending in the years 2011 through 2015 for 80 drugs

(including Acthar) that met its reporting criteria, and when Citron Research issued its report of

November 16, 2016.

       201.    Upon information and belief, Defendant Trudeau and others within the

Company’s management and Board of Directors were similarly provided with historical and

current formularies and restrictions on reimbursement for prescriptions written for Acthar, such

as those noted above, which undercut Defendants’ statements throughout the Relevant Period,

including in 2017, concerning Acthar’s claimed growth across the payer mix, strengthened

formulary positions, removal or relaxation of previous formulary restrictions, and expansion in

terms of the number of commercial lives under contract. Defendants’ knowledge of this, as well

as criticisms of the medical studies underlying their claims that Acthar had been shown to be

effective for all of its indications, similarly make clear that they did not have a reasonable basis

for the guidance provided to the market in February 2017 and reiterated consistently thereafter

until the Company’s disclosures of the truth on November 7, 2017.

       202.    As further alleged above, Defendants and other members of the Mallinckrodt

Executive Committee ultimately made decisions about the development, or lack of development,

of Synacthen in the United States market, as well as the decisions to enter into the settlements

                                                91
            Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 92 of 105



reached with Retrophin in June 2015 (which included a $15.5 million payment to Retrophin) and

with the FTC in January 2017 (which included a $100 million payment to the federal

Government, and an agreement to sub-license Synacthen for development for the potential

treatment of infantile spasms and nephrotic syndrome).

       203.    Defendants Trudeau’s and Harbaugh’s knowledge concerning the alleged

misrepresentations are also indicated by their signings of each of the Company’s Forms 10-K

and 10-Q during the Relevant Period.

       204.    Defendant O’Neill was, at all times relevant, the President of the ARD division of

Mallinckrodt, which encompassed Acthar from the time of the Questcor merger in August 2014

to the present. Among other things, O’Neill made affirmative statements in September 2014

about the “due diligence” that Mallinckrodt had undertaken with respect to Acthar. He further

participated on many quarterly and other investor conferences during the Relevant Period and, as

alleged above, was a key person in terms of setting policy and overseeing the Company’s

operations with respect to its Acthar franchise. As a member of the management executive

committee, he was also privy to the Company’s plans for developing Synacthen in the United

States only for treatments that would not compete with Acthar.

       F.      The Court in the Securities Class Action Denies in Part Defendants’ Motion
               to Dismiss

       205.    On July 30, 2019, the court in the Securities Class Action issued an order denying

in part Defendants’ motion to dismiss, finding that:

       the plaintiffs’ have successfully stated a claim under Section 10(b) and Rule 10b–
       5 with respect to (1) the defendants’ alleged failure to disclose the fact of an
       impending settlement with the FTC in Mallinckrodt’s 2016 10-K; (2) Trudeau’s
       alleged misstatement regarding Acthar’s exposure to Medicare and Medicaid in
       October 2015; and (3) the defendants’ alleged misstatements and omissions in
       2017 regarding the long-term prospects for Acthar’s sales as far as they relate to
       statements about (a) Acthar’s growth across the payer mix, (b) strengthened
                                                92
           Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 93 of 105



       formulary positions and the removal or relaxation of formulary restrictions, and
       (c) specific growth projections.

V.     DAMAGES TO THE COMPANY

       206.    As a result of Defendants’ wrongful conduct, Mallinckrodt disseminated false and

misleading statements, and omitted material information to make such statements not false and

misleading when made. The improper statements have devastated Mallinckrodt’s credibility.

Mallinckrodt has been, and will continue to be, severely damaged and injured by Defendants’

misconduct.

       207.    As a direct and proximate result of Defendants’ actions as alleged above,

Mallinckrodt’s market capitalization has been substantially damaged, having lost millions of

dollars in value as a result of the conduct described herein.

       208.    Further, as a direct and proximate result of Defendants’ conduct, Mallinckrodt has

expended, and will continue to expend, significant sums of money. Such expenditures include,

but are not limited to:

       (a) costs incurred in investigating and defending Mallinckrodt and certain officers in the

            pending Securities Class Action, plus potentially millions of dollars in settlement or

            to satisfy an adverse judgment;

       (b) costs incurred from compensation and benefits paid to Defendants, which

            compensation was based at least in part on Mallinckrodt’s artificially inflated stock

            price; and

       (c) costs incurred from the loss of the Company’s customers’ confidence in

            Mallinckrodt’s products

       209.    Moreover, these actions have irreparably damaged Mallinckrodt’s corporate

image and goodwill. For at least the foreseeable future, Mallinckrodt will suffer from what is
                                                 93
           Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 94 of 105



known as the “liar’s discount,” a term applied to the stocks of companies who have been

implicated in illegal behavior and have misled the investing public, such that Mallinckrodt’s

ability to raise equity capital or debt on favorable terms in the future is now impaired.

VII.   DERIVATIVE AND DEMAND FUTILITY ALLEGATIONS

       210.    Plaintiff brings this action derivatively in the right and for the benefit of

Mallinckrodt to redress injuries suffered, and to be suffered, by Mallinckrodt as a direct result of

violations of federal securities laws by the Defendants.     Mallinckrodt is named as a Nominal

Defendant solely in a derivative capacity. This is not a collusive action to confer jurisdiction on

this Court that it would not otherwise have.

       211.    The Board of Mallinckrodt, at the time this action was commenced, consisted of

Russell, Trudeau, Carlucci, Carroll, Carter, Norton, Paya, Reed, Whitaker, and Youngblood, a

total of 10 individuals.

       212.    Plaintiff has not made any demand on the Board to institute this action because a

pre-suit demand on the Mallinckrodt Board would be futile, and therefore, excused.          This is

because a majority of the Board faces a substantial likelihood of liability as a result of their

scheme and false and misleading statements and/or omissions of material adverse facts which

render them unable to impartially consider a demand to pursue the wrongdoing alleged herein.

                  Demand is Futile as to Defendant Trudeau Because His
        Principal Professional Occupation is as the Company’s Chairman and CEO

       213.    Defendant Trudeau has been the Company’s president, CEO since June 2013. In

his role as CEO of the Company for the fiscal years 2017 and 2018, Defendant Trudeau received

$15,026,710 and $14,044,012 in total compensation respectively. The Company does not claim

that Defendant Trudeau is an independent director and because Defendant Trudeau’s primary

source of income and primary employment is his employment as Chairman and CEO of
                                                 94
            Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 95 of 105



Mallinckrodt and his professional reputation is inextricably bound to his role at Mallinckrodt,

Defendant Trudeau is incapable of acting independently and demand is futile upon him.

                       Demand is Futile as to the Members of the Audit Committee

        214.     Demand is futile as to Defendants Reed and Russell (collectively, the “Audit

Committee Defendants”) who served (and continue to serve) as members of the Audit

Committee during the Relevant Period, as the Audit Committee Defendants knowingly failed to

fulfill their responsibilities.38

        215.     The Board of Directors adopted an Audit Committee Charter, setting forth the

responsibilities of the Audit Committee. The Audit Committee Charter notes that the purpose of

the Audit Committee shall be to assist the Board in overseeing the integrity of the Company’s

quarterly and annual financial statements, as well as the Company’s financial accounting

principles. Specifically, the Audit Committee Charter notes that the Audit Committee is

supposed to:

        Meet to review and discuss annual audited and quarterly unaudited financial
        statements, including ‘Management’s Discussion and Analysis of Financial
        Condition and Results of Operations’ and other related disclosures or reports with
        management, the internal audit director, and the independent auditor, as
        appropriate, and recommend to the Board whether the audited financial
        statements and/or related disclosures or reports should be approved by the Board
        and included in the annual report on Form 10-K and/or any filings required by
        Irish law.

        216.     Upon information and belief, in their capacity as members of the Audit

Committee, the Audit Committee Defendants were privy to specific information related to the

Company’s business, operations, and prospects, which would reasonably put them on notice that




38
  Defendants Reed and Russell have served on the Company’s Audit Committee since at least
August 2014.
                                               95
           Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 96 of 105



the statements set forth above in the Company’s public filings were materially false and

misleading when made.

       217.   The Company’s public filings concerning the Company’s business and prospects

during the Relevant Period contained materially misleading information and/or omitted material

information concerning the Company’s Acthar drug. In their capacity as members of the Audit

Committee, the Audit Committee Defendants were charged with ensuring that these reports did

not contain such materially misleading information. By allowing documents to be filled with

misleading information, the Audit Committee Defendants face a sufficiently significant

likelihood of liability so as to render them interested.   Accordingly, the Audit Committee

Defendants cannot adequately independently consider a demand.

                        Demand is Futile as to the Director Defendants

       218.   Plaintiff has not made any demand on the Board to institute this action because a

pre-suit demand on the Company’s Board would be futile, and therefore, excused. This is

because a majority of the Board faces a substantial likelihood of liability as a result of their

knowing toleration of the above described false and misleading statements and omissions of

material adverse facts, which render them unable to impartially consider a demand to pursue the

wrongdoing alleged herein.

       219.   Upon information and belief, in their capacity as members of the Company’s

Board, the Director Defendants were privy to specific information related to the Company’s

business and financial prospects, which would reasonably put them on notice that the statements

they were making were in fact false and misleading.

       220.   Each of the Director Defendants were responsible for reviewing and approving

the Company’s public statements made in press releases and financial filings with the SEC

                                              96
            Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 97 of 105



throughout the Relevant Period. By authorizing the false and misleading statements and material

omissions and described above during the Relevant Period concerning the Company’s business

and prospects, each of the Director Defendants knowingly faces a substantial likelihood of

liability for their participation in the illicit acts alleged herein.

        221.    Accordingly, the Director Defendants face a sufficiently substantial likelihood of

liability such as to create a reasonable doubt as to their impartially consider a demand to sue

themselves in the present action.

VIII. CAUSES OF ACTION

                                                    COUNT I

             Against the Officer Defendants for Contribution Under Section 10(b) of the
           Exchange Act, Rule 10b-5 Promulgated Thereunder, and/or Section 20(a) of the
                                           Exchange Act

        222.    Plaintiff incorporates by reference and realleges each and every allegation set

forth above, as though fully set forth herein.

        223.    As a result of the conduct and events alleged above, Mallinckrodt has been named

as a defendant in the Securities Class Action brought on behalf of Mallinckrodt shareholders in

which it is a joint tortfeasor in claims brought under Section 10(b) of the Securities and

Exchange Act and Rule 10(b)-5 promulgated thereunder.

        224.    Federal law provides Mallinckrodt with a cause of action against other alleged

joint tortfeasors under Rule 10b-5. In particular, under the Supreme Court’s decision in Musick,

Peeler & Garrett v. Employers Insurance of Wausau, 508 U. S. 286, Mallinckrodt has a federal

law right of contribution against joint tortfeasors under Rule 10b-5. Section 21D(f) of the

Securities and Exchange Act further sets forth specific provisions entitling Mallinckrodt to

contribution against all joint tortfeasors under Rule 10b-5, regardless of whether they have been
                                                     97
            Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 98 of 105



named as defendants in the currently pending Securities Class Action, and sets forth specific

rules regarding the determination of claims for such contribution.

        225.    Accordingly, Plaintiff, on behalf of Mallinckrodt, hereby claims contribution

against the Officer Defendants, each of whom has been named in the currently pending

Securities Class Action as a joint tortfeasor with Mallinckrodt under Rule 10b-5, or if joined in

such actions, would be liable for the same damages as Mallinckrodt.

        226.    Mallinckrodt claims no right to indemnification under the federal securities laws

from them in this count, but rather only claims contribution.

                               Allegations Regarding the Officer Defendants

        227.    Throughout the Relevant Period, the Officer Defendants caused the Company to

issue false and misleading statements and/or omit material information in public statements

and/or Company filings concerning the long-term sustainability of the Company’s monopolistic

revenues from Acthar and the exposure of Acthar to Medicare and Medicaid. These statements

were materially misleading to persons who purchased Mallinckrodt securities during the

Relevant Period. In particular, the SEC filings and other public statements created the false

impression that, inter alia,

        228.    Throughout the Relevant Period, the Officer Defendants caused the Company to

issue false and misleading statements and/or omit material information in public statements

and/or Company filings concerning the long-term sustainability of the Company’s monopolistic

revenues from Acthar and the exposure of Acthar to Medicare and Medicaid. These statements

were materially misleading to persons who purchased Mallinckrodt securities during the

Relevant Period. In particular, the SEC filings and other public statements created a false

impression of (1) the Company’s ability to preserve and exploit its monopoly position and

                                                98
           Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 99 of 105



resulting profits, and artificially inflated the prices of Mallinckrodt’s securities; and (2) the true

extent of Acthar’s reliance on Medicare and Medicaid by intentionally providing false data to the

market in the fall of 2015 that Acthar was not as dependent on reimbursements from these

programs as it actually was.

       229.    The plaintiffs in the Securities Class Action allege that they relied, directly or

indirectly, upon these false statements and misleadingly omissive disclosures in purchasing

Mallinckrodt securities, and, as a result, suffered damages because value of their investments

was distorted by the false and materially omissive statements, and they purchased such securities

at such distorted prices.

       230.    The damages suffered by said investors were caused by reason of the fact that (i)

they were induced to purchase said securities by the false and misleading statements alleged

herein, and (ii) the reveal of the true nature of the Company’s business and prospects resulted in

the decrease in price of its securities, causing the value of shareholders investments to drop.

       231.    The plaintiffs in the Securities Class Action were unaware of the false and

misleading nature of said statements and omissive disclosures.

       232.    When the Officer Defendants signed off on or made the false statements and

omissive disclosures detailed herein, they had actual knowledge that they were false and

misleading. As alleged in detail herein, due to their positions as employees and/or directors of

Mallinckrodt, the Officer Defendants were privy to information regarding the Company’s

financial prospects and internal controls, and would have been well aware the ongoing issues at

the Company.

       233.    Accordingly, the Officer Defendants are liable for damages under Section 10b of

the Exchange Act and Rule 10b-5 promulgated thereunder, and, if Mallinckrodt were to be held

                                                 99
           Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 100 of 105



liable in the Securities Class Action, the Officer Defendants would be liable to it for

contribution. Plaintiffs hereby derivatively claim such right of contribution on behalf of

Mallinckrodt.

                  Allegations Regarding the Officer Defendants as Control Persons

       234.     In acting as alleged above, the Officer Defendants were acting as authorized

agents of Mallinckrodt in their roles as directors and/or employees. Because of their positions of

control and authority as senior officers and/or directors, the Officer Defendants were able to, and

did, control the contents of the various reports, press releases and public filings disseminated by

the Company throughout the Relevant Period, as alleged herein.

       235.     The Officer Defendants were “controlling persons” of Mallinckrodt within the

meaning of Section 20(a) of the Exchange Act, and, accordingly, the Officer Defendants could

be held liable to the plaintiffs in the Securities Class Action. Were the Company to be held liable

in said Securities Class Action, the Officer Defendants would be liable to it for contribution.

                                                COUNT II

                        Against all Defendants for Breaches of Fiduciary Duties

       236.     Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

       237.     Defendants owed and owe Mallinckrodt fiduciary obligations. By reason of their

fiduciary relationships, Defendants owed and owe Mallinckrodt the highest obligation of good

faith, loyalty, and due care.

       238.     Defendants have violated and breached their fiduciary duties of good faith,

loyalty, and due care by causing or allowing the Company to disseminate to Mallinckrodt

shareholders materially misleading and inaccurate information through the Company’s SEC

                                                100
          Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 101 of 105



filings throughout the Relevant Period. These actions could not have been a good faith exercise

of prudent business judgment.

        239.   During the course of the discharge of their duties, Defendants knew or recklessly

disregarded the unreasonable risks and losses associated with their misconduct, yet Defendants

caused Mallinckrodt to engage in the conduct complained of herein which they knew had an

unreasonable risk of damage to the Company, thus breaching their duties owed to Mallinckrodt

and its shareholders. As a result, Defendants grossly mismanaged the Company.

        240.   As a direct and proximate result of their failure to perform their fiduciary

obligations, the Company has sustained significant damages. As a result of the misconduct

alleged herein, Defendants are liable to the Company.

        241.   Plaintiff, on behalf of Mallinckrodt, has no adequate remedy at law.

                                           COUNT III

                        Against all Defendants for Unjust Enrichment

        242.   Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

        243.   By their wrongful acts and omissions, the Defendants were unjustly enriched at

the expense of and to the detriment of Mallinckrodt.

        244.   The Defendants were unjustly enriched as a result of the compensation they

received while breaching their fiduciary duties owed to Mallinckrodt.

        245.   Plaintiff, as a shareholder and representative of Mallinckrodt, seeks restitution

from the Defendants and seek an order from this Court disgorging all profits, benefits, and other

compensation obtained by Defendants from their wrongful conduct and breaches of fiduciary

duty.

                                                101
          Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 102 of 105



       246.    Plaintiff, on behalf of Mallinckrodt, has no adequate remedy at law.

                                           COUNT IV

                            Against all Defendants for Abuse of Control

       247.    Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

       248.    Defendants have taken advantage of their positions as officers and/or directors of

the Company to the detriment of Plaintiff and the investing public by causing the Company to

issue materially misleading statements and/or omitting material information concerning the

Company’s Acthar drug product.

       249.    As such, Defendants have abused their positions of control with the Company and

are legally responsible.

       250.    Thus, for the aforementioned reasons, Defendants are liable to the Company for

their wrongdoing.

                                            COUNT V

                           Against Defendants for Gross Mismanagement

       251.    Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

       252.    Defendants owed a duty of oversight to the Company in which they were

responsible to ensure that the Company maintained adequate reporting controls for all financial,

accounting and disclosure released by the Company.          Furthermore, the Defendants were

responsible to oversee, manage and control the operations of the Company, including the

manners and methods of reporting in which the acts complained herein occurred.



                                                102
           Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 103 of 105



       253.    Through the wrongful acts complained of herein, Defendants refused or did not

properly discharge their responsibilities to the Company and its shareholders in a prudent manner

as prescribed by law as well as in the Company’s corporate governance regulations.

       254.    By committing the misconduct alleged herein, Defendants, breached their

fiduciary duties of due care, diligence and candor in the management and administration of

Mallinckrodt’s affairs and in the use and preservation of Mallinckrodt’s assets.

       255.    During the course of the discharge of their duties, Defendants knew or recklessly

disregarded the unreasonable risks and losses associated with their misconduct, yet Defendants

caused Mallinckrodt to engage in the conduct complained of herein which they knew had an

unreasonable risk of damage to Mallinckrodt, thus breaching their duties to the Company.

       256.    As a result, Defendants grossly mismanaged Mallinckrodt and should be liable to

the Company for the resulting damages.

IX.    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully pray for judgment as follows:

       257.    Declaring that Plaintiff may maintain this action on behalf of Mallinckrodt and

that this Plaintiff is an adequate representative of the Company;

       258.    Determining and awarding to Mallinckrodt the damages sustained by it as a result

of the violations set forth above from each of the defendants, jointly and severally, together with

interest thereon;

       259.    Directing Mallinckrodt and the Director Defendants to take all necessary actions

to reform and improve its corporate governance and internal procedures to comply with

applicable laws and to protect Mallinckrodt and its shareholders from a repeat of the damaging

events described herein, including, but not limited to, putting forward for shareholder vote the

                                               103
             Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 104 of 105



following resolutions for amendments to the Company’s By-Laws or Articles of Incorporation;

and the following actions as may be necessary to ensure proper Corporate Governance Policies:

          260.   Determining and awarding to Mallinckrodt exemplary damages in an amount

necessary to punish defendants and to make an example of defendants to the community

according to proof at trial;

          261.   Awarding Mallinckrodt restitution from defendants, and each of them;

          262.   Awarding Plaintiff the costs and disbursements of this action, including

reasonable attorneys’ and experts’ fees, costs, and expenses; and

          263.   Granting such other and further equitable relief as this Court may deem just and

proper.

                                           JURY DEMAND

          Plaintiff demands a trial by jury.

Dated: September 17, 2019                             Respectfully submitted,

                                                      GOLDMAN & MINTON, P.C.


                                                      _______/S/_____________________
                                                      Thomas J. Minton (No. 367124)
                                                      3600 Clipper Mill Rd., Suite 201
                                                      Baltimore, Maryland 21211
                                                      Telephone: (410) 783-7575
                                                      Facsimile: (410) 783-1711
                                                      tminton@charmcitylegal.com

OF COUNSEL:

LIFSHITZ & MILLER LLP
Joshua M. Lifshitz
Email: jml@jlclasslaw.com
821 Franklin Ave, Suite 209
Garden City, New York 11530
Telephone: (516) 493-9780
Facsimile: (516) 280-7376
                                                104
Case 1:19-cv-02778 Document 1 Filed 09/17/19 Page 105 of 105




                            105
